                   Case 4:17-cv-03962-HSG Document 284 Filed 08/18/21 Page 1 of 52



        Guy B. Wallace – 176151                                           Gay Crosthwait Grunfeld – 121944
 1      Mark T. Johnson – 76904                                           Benjamin Bien-Kahn – 267933
        Travis C. Close – 308673                                          Jenny S. Yelin – 273601
 2      SCHNEIDER WALLACE                                                 Amy Xu – 330707
        COTTRELL KONECKY LLP                                              ROSEN BIEN
 3      2000 Powell Street, Suite 1400                                    GALVAN & GRUNFELD LLP
        Emeryville, California 94608                                      101 Mission Street, Sixth Floor
 4      Telephone: (415) 421-7100                                         San Francisco, California 94105-1738
        Facsimile: (415) 421-7105                                         Telephone: (415) 433-6830
 5      Email:        gwallace@schneiderwallace.com                       Facsimile: (415) 433-7104
                     mjohnson@schneiderwallace.com                        Email:        ggrunfeld@rbgg.com
 6                   tclose@schneiderwallace.com                                        bbien-kahn@rbgg.com
                                                                                        jyelin@rbgg.com
 7      Kathryn A. Stebner – 121088                                                     axu@rbgg.com
        Brian S. Umpierre – 236399
 8      STEBNER AND ASSOCIATES
        870 Market Street, Suite 1212
 9      San Francisco, California 94102
        Telephone: (415) 362-9800
10      Facsimile: (415) 362-9801
        Email:       kathryn@stebnerassociates.com
11                   brian@stebnerassociates.com
12
      Attorneys for Plaintiffs and the Proposed Classes
13
                                           UNITED STATES DISTRICT COURT
14
                        NORTHERN DISTRICT OF CALIFORNIA-OAKLAND DIVISION
15

16    STACIA STINER, et al., on behalf of themselves and all Case No. 4:17-cv-03962-HSG (LB)
      others similarly situated,
17
                        Plaintiffs,
18          vs.                                                            DECLARATION OF JEFFREY SCOTT
      BROOKDALE SENIOR LIVING, INC. ;                                      MASTIN IN SUPPORT OF
19                                                                         PLAINTIFFS’ MOTION FOR CLASS
      BROOKDALE SENIOR LIVING COMMUNITIES,                                 CERTIFICATION
20    INC.; and DOES 1 through 100,

21                      Defendants.                                        Date:     May 26, 2022
                                                                           Time:     2:00 p.m.
22                                                                         Place:    Courtroom 2
                                                                           Judge:    Hon. Haywood S. Gilliam, Jr.
23

24

25

26

27

28
     [3779845.4]     DECLARATION OF JEFFREY SCOTT MASTIN ISO PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                      Stiner et al., v. Brookdale Senior Living, Inc., LLC, et al., Case No. 4:17-cv-03962-HSG (LB)
                   Case 4:17-cv-03962-HSG Document 284 Filed 08/18/21 Page 2 of 52




 1      I, Jeffrey Scott Mastin, declare as follows:

 2                 1.      This Declaration is submitted in support of Plaintiffs’ Motion for Class Certification in

 3      Stiner et al., v. Brookdale Senior Living, Inc., et al., Case No. 4:17-cv-03962-HSG (LB), in the U.S.

 4      District Court, Northern District of California. I make this Declaration of my own personal

 5      knowledge of the facts stated below, and if called as a witness in this case, I could and would testify

 6      as stated herein.

 7                                        QUALIFICATIONS AND BACKGROUND

 8                 2.      I am an expert in accessibility for persons with physical disabilities. I received my five-

 9      year architectural degree from California Polytechnic State University, San Luis Obispo in 1987. I

10      became a licensed architect in California in 1995 and have been licensed continuously since. I have

11      twenty-six years’ experience in Architecture including fourteen years as Project Architect and three

12      years as Construction Manager. I have been a specialist in disability accessibility since 1999.

13                 3.      I was asked to serve as Subject Matter Expert for the Division of the State Architect

14      (“DSA”) in 2015. I served under contract for five years in that capacity, specifically developing and

15      vetting materials for the California Certified Access Specialist Exam.

16                 4.      I am currently an independent accessibility consultant and President of Facility Access

17      Consulting, Inc. From 2005 through 2008, I was a partner in the architectural firm of Architerra, LLP

18      and one of the firm’s resident experts on physical accessibility regulations. I also performed

19      numerous accessibility construction plan reviews for the DSA during this time. I was contracted by

20      that office to review, comment, and approve various public agency submittals for compliance with

21      accessibility regulations. Prior to this, beginning in 1995, I was a project architect for three successive

22      architectural firms for large accessibility and architectural projects.

23                 5.      As a project architect, I have designed a wide variety of projects including civic,

24      institutional, educational, commercial, and health care facilities, as well as a large-scale state housing

25      project for the developmentally disabled. My primary responsibility was to direct or perform all

26      aspects of design and construction document production. This included design, code compliance, cost

27      estimating, materials and systems selection, graphical and technical communication, agency

28
     [3779845.4]        DECLARATION OF JEFFREY SCOTT MASTIN ISO PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                        Stiner et al., v. Brookdale Senior Living, Inc., LLC, et al., Case No. 4:17-cv-03962-HSG (LB)
                                                                         1
                   Case 4:17-cv-03962-HSG Document 284 Filed 08/18/21 Page 3 of 52




 1      approvals and construction field verification.

 2                 6.      A relevant responsibility for a project architect is the investigation and documentation of

 3      existing conditions when designing alterations, additions, or renovations to existing facilities. Over

 4      half of my work as Project Architect involved existing facilities. I am very experienced with

 5      inspecting and documenting existing facilities and evaluating their potential for renovation or

 6      upgrade. This documentation includes precise measurement and an intimate knowledge of

 7      construction materials and systems for a variety of project types and scales.

 8                 7.      I have provided and managed numerous large-scale accessibility site assessments for

 9      state and private clients involving tens of millions of square feet of structures and thousands of acres

10      of associated sites. The public projects included the majority of all facilities operated by the Counties

11      of Orange and Alameda in California and five developmental center housing campuses for the State

12      of California. The private projects included over one thousand retail and food service facilities for

13      Fortune 500 companies nationwide. I have also served as a litigation access specialist for both

14      defendants and plaintiffs involving dozens of public agencies and private entities. I have further

15      provided training to dozens of accessibility experts working in forty-five states. I am familiar with

16      the techniques that people with disabilities employ for mobility, including the mechanics of various

17      mobility aids. I have used this knowledge to work with facility owners to identify and prioritize the

18      removal of barriers to accessibility according to the degree of non-compliance and greatest potential

19      for injury.

20                 8.      I am very familiar with the requirements of federal disability access design standards,

21      including the 2010 Americans with Disabilities Act Standards for Accessible Design (“ADAS”), the

22      Americans with Disabilities Act Accessibility Guidelines (“ADAAG”) and the Uniform Federal

23      Accessibility Standards (“UFAS”). I am also very familiar with the requirements of California

24      accessibility design standards as codified within the California Building Code (“CBC”), often known

25      as Title 24 of the California Code of Regulations (“Title 24”). I have extensive experience measuring

26      and inspecting individual elements of newly constructed, altered, and existing facilities to determine

27      the extent to which they comply with these accessibility standards. This includes substantial

28
     [3779845.4]        DECLARATION OF JEFFREY SCOTT MASTIN ISO PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                        Stiner et al., v. Brookdale Senior Living, Inc., LLC, et al., Case No. 4:17-cv-03962-HSG (LB)
                                                                         2
                   Case 4:17-cv-03962-HSG Document 284 Filed 08/18/21 Page 4 of 52




 1      experience in inspecting and assessing various elements of the pedestrian right of way, including

 2      sidewalks, curb ramps and cross walks.

 3                 9.       I am a California Certified Access Specialist in good standing (CASp #88). The

 4      certification, administered by the California Division of the State Architect, signifies that I am

 5      qualified to evaluate plans, investigate facilities, conduct research, perform inspections, and prepare

 6      reports to determine compliance with applicable state and federal accessibility provisions, including

 7      statutes, regulations, and standards. In addition, an important component of CASp certification is the

 8      duty to evaluate and propose suitable barrier removal measures with a reasonable schedule for

 9      accomplishing such measures.

10                 10.      The opinions I express in connection with this litigation are based upon various

11      professional trainings and seminars I have attended, upon articles, reports, codes, acts, regulations,

12      interpretations and publications that I have studied, my professional experience interpreting and

13      applying the requirements of access regulation in professional practice, and in my experience in

14      working with public entities and business owners to educate them on their obligations for providing

15      accessible facilities.

16                 11.      Attached to this Declaration as Appendix A is a true and correct copy of my curriculum

17      vitae.

18                                                        SCOPE OF WORK

19                 12.      Counsel for Plaintiffs retained Gary Waters of Pacific Access Consulting and me to

20      survey a number of the Defendants’ Assisted Living facilities located in California. I conducted

21      surveys of 28 such facilities on behalf of Facility Access Consulting, Inc. over the period of June 11,

22      2019, through February 20, 2020. I was asked to determine the extent to which the facilities and their

23      physical elements complied with the standards set forth in the 2010 ADA Accessibility Standards

24      (“2010 ADAS”), the 1991 ADA Accessibility Guidelines (“1991 ADAAG”), and California Title 24

25      Code of Regulations (commonly known as the California Building Code or “CBC”) the CBC, and to

26      assess the sufficiency of the policies, procedures, and practices of Defendants with respect to

27      disability access for persons with mobility disabilities.

28
     [3779845.4]         DECLARATION OF JEFFREY SCOTT MASTIN ISO PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                         Stiner et al., v. Brookdale Senior Living, Inc., LLC, et al., Case No. 4:17-cv-03962-HSG (LB)
                                                                          3
                   Case 4:17-cv-03962-HSG Document 284 Filed 08/18/21 Page 5 of 52




 1                 13.      By arrangements made between counsel for Plaintiffs and Defendants, I inspected the

 2      following facilities on the specified dates:

 3
        Brookdale Brookhurst – 15302 Brookhurst Street, Westminster                          06/11/2019            Exhibit A
 4
        Brookdale Oceanside – 3524 Lake Blvd., Oceanside                                     06/12/2019            Exhibit B
 5      Brookdale San Marcos – 1590 W. San Marcos Blvd., San                                                       Exhibit C
                                                                                             06/13/2019
        Marcos
 6      Brookdale Chatsworth – 20801 Devonshire St., Los Angeles                             06/18/2019            Exhibit D
 7      Brookdale North Tarzana – 5711 Reseda Blvd., Tarzana                                 06/19/2019            Exhibit E
        Brookdale Riverwalk – 350 Calloway Drive, Bakersfield                                06/24/2019            Exhibit F
 8
        Brookdale Corona – 2005 Kellogg Avenue, Corona                                       08/27/2019            Exhibit G
 9      Brookdale Redwood City – 485 Woodside Rd. Redwood City                               08/29/2019            Exhibit H
10      Brookdale Alhambra – 1 E. Commonwealth Ave., Alhambra                                09/24/2019            Exhibit I
        Brookdale Ocean House                                                                                      Exhibit J
11      (fka Brookdale Santa Monica) – 2107 Ocean Ave., Santa                                09/25/2019
        Monica
12
        Brookdale Santa Monica Gardens – 851 2nd Street, Santa                                                     Exhibit K
                                                                                             9/26/2019
13      Monica
        Brookdale Anaheim – 200 N. Dale Avenue, Anaheim                                      10/08/2019            Exhibit L
14
        Brookdale Valley View Garden Grove – 5900 Chapman Ave.                               10/08/2019            Exhibit M
15      Brookdale Garden Grove – 10200 Chapman Avenue                                        10/11/2019            Exhibit N
16      Brookdale Bakersfield – 8100 Westlold Dr., Bakersfield                               10/14/2019            Exhibit O
        Brookdale Vacaville Magnolia Court- 1111 Ulatis Street,                                                    Exhibit P
17                                                                                           10/15/2019
        Vacaville
18      Brookdale Riverside – 5881 El Palomino Drive, Riverside                              10/16/2019            Exhibit Q
        Brookdale Hemet – 1177 S. Palm Avenue, Hemet                                         10/17/2019            Exhibit R
19
        Brookdale North Euclid – 1031 N. Euclid Avenue, Ontario                              10/30/2019            Exhibit S
20
        Brookdale Loma Linda – 25585 Van Leuven St., Loma Linda                              12/18/2019            Exhibit T
21      Brookdale Walnut – 19850 Golden Springs Dr., Walnut                                  01/14/2020            Exhibit U
        Brookdale Central Whittier – 8101 Painter Ave., Whittier                             01/15/2020            Exhibit V
22
        Brookdale Uptown Whittier – 13250 Philadelphia St., Whittier                         01/16/2020            Exhibit W
23                                                                                                                 Exhibit X
        Brookdale San Dimas – 1740 San Dimas Avenue, San Dimas                               02/06/2020
24      Brookdale Brea – 285 W. Central Avenue, Brea                                         02/07/2020            Exhibit Y
        Brookdale Anaheim Hills – 380 S. Anaheim Hills Rd.                                   02/17/2020            Exhibit Z
25
        Brookdale Yorba Linda – 17803 Imperial Hwy., Yorba Linda                             02/18/2020           Exhibit AA
26      Brookdale Magnolia – 737 Magnolia Ave., Corona                                       02/19/2020           Exhibit BB
27

28
     [3779845.4]         DECLARATION OF JEFFREY SCOTT MASTIN ISO PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                         Stiner et al., v. Brookdale Senior Living, Inc., LLC, et al., Case No. 4:17-cv-03962-HSG (LB)
                                                                          4
                   Case 4:17-cv-03962-HSG Document 284 Filed 08/18/21 Page 6 of 52




 1                 14.      At each of these facilities, I inspected all common areas available to the public to which I

 2      was provided access and the resident unit sleeping rooms to which I was provided access. The

 3      inspections included the following elements, areas or features of the premises:

 4                              a. On-site parking lots serving the facility

 5                              b. Passenger loading and unloading areas

 6                              c. Common areas of the facility that were open to or available for use by

 7                                   residents of the facility

 8                              d. Interior paths of travel including corridors and elevators

 9                              e. Exemplars of rooms available for occupancy by residents of the facility

10                              f. Exterior areas of each site that were open to use by residents, including

11                                   patios, sitting areas, outdoor recreational areas where they existed and

12                                   walkways and other paths of travel connecting these areas and the parking

13                                   lots to one another and to the buildings on the site.

14                              g. Shuttle vehicles used to transport residents.

15                 15.      At each of the facilities I surveyed, I inspected between six and eighteen resident rooms

16      as specified in each individual survey report. In total I inspected two hundred and ninety-nine

17      resident rooms among the twenty-eight facilities. These included rooms of different configurations,

18      sizes, and types, including rooms for both assisted living residents and memory care residents and

19      rooms that were both occupied and unoccupied on the date of the inspection. The exemplar rooms I

20      was permitted to inspect were identified by Brookdale’s counsel, who were present at all of the

21      survey’s I conducted. My understanding, based on a stipulation between Brookdale and Plaintiffs, is

22      that the rooms identified by counsel for Brookdale that I inspected at each location were typical in all

23      material respects affecting disability access, of all other residential units of the same configuration

24      (e.g., studio, one-bedroom, two-bedroom, etc.) at the location. (Docket No. 154, paragraph 7). Based

25      on that same Stipulation, it is my understanding that no residential units that were not made available

26      for inspection at any of these facilities have any features, elements or dimensions that provide greater

27      access to persons with disabilities than those that were inspected.

28
     [3779845.4]         DECLARATION OF JEFFREY SCOTT MASTIN ISO PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                         Stiner et al., v. Brookdale Senior Living, Inc., LLC, et al., Case No. 4:17-cv-03962-HSG (LB)
                                                                          5
                   Case 4:17-cv-03962-HSG Document 284 Filed 08/18/21 Page 7 of 52




 1

 2

 3                 16.      The opinions I express in this declaration are based on the results of my survey and

 4      inspections of the Brookdale facilities identified above using the methods and techniques described

 5      herein, as well as my experience and review of the documents and materials described below.

 6                                                 BASES OF EXPERT OPINIONS

 7                       A. Published Materials
 8                 17.      The opinions I express in connection with this litigation are based upon various

 9      professional trainings and seminars that I have either presented or attended, upon articles, reports,

10      codes and publications that I have studied, my professional experience interpreting and applying the

11      requirements of the ADA (including the standards of the 2010 ADAS, the 1991 ADAAG, and

12      UFAS) and the CBC in practice, and my experience in working with public entities and owners to

13      educate them on their obligations under the ADA, the 2010 ADAS, the 1991 ADAAG, and the CBC

14      with regard to providing accessible facilities.

15                       B. Review of Relevant Case Documents and Testimony
16                 18.      The opinions I express in this Declaration are based on the review and analysis of

17      various documents, including the architectural and construction drawings and records for each

18      facility I inspected that were produced by Brookdale and non-party public agencies in this litigation,

19      and relevant portions of the transcript of the deposition testimony of Kevin Bowman, testifying on

20      behalf of Brookdale on June 23, 2021, as a Rule 30(b)(6) witness on issues related to Brookdale’s

21      disability access policies, procedures, and practices. I also reviewed relevant portions of the

22      deposition transcript of Audrey Withers, who testified on behalf of Brookdale on July 23, 2021, as its

23      rule 30(b)(6) designee on the topic of employee training. I also reviewed Defendants’ Supplemental

24      Responses to Plaintiffs Stacia Stiner’s Interrogatories, Set One, various Brookdale renovation status

25      spreadsheets, Brookdale’s 3 Year Renovation Plan Consolidated Communities, the Cap Ex Review,

26      and the 2017 Budget Projects Spreadsheet produced by Brookdale. I have reviewed Plaintiffs’ Third

27      Amended Complaint and Defendants’ Answer and the District Court’s opinions in this case, Stiner v.

28
     [3779845.4]         DECLARATION OF JEFFREY SCOTT MASTIN ISO PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                         Stiner et al., v. Brookdale Senior Living, Inc., LLC, et al., Case No. 4:17-cv-03962-HSG (LB)
                                                                          6
                   Case 4:17-cv-03962-HSG Document 284 Filed 08/18/21 Page 8 of 52




 1      Brookdale Senior Living Inc., 354 F. Supp. 3d 1046 (N.D. Cal. 2019) and Stiner v. Brookdale Senior

 2

 3      Living, Inc., 383 F. Supp. 3d 949 (N.D. Cal. 2019). Additionally, I have reviewed the site inspection

 4      reports prepared by Gary Waters based on his inspections of other Brookdale facilities in California.

 5                 19.      The analysis and conclusions contained in this declaration reflect my preliminary

 6      findings and conclusions, and these are subject to revision and supplementation, as further

 7      information becomes available through the discovery process in this case. My work is continuing. I

 8      may supplement, revise, or change the opinions contained within this Declaration as I review

 9      additional documents produced and additional deposition testimony in this litigation and should I

10      conduct any further site inspections of the Stadium and its facilities.

11                 20.      For each of the twenty-eight California Brookdale assisted living facilities that I

12      inspected in connection with this litigation I prepared an Access Compliance Evaluation Survey

13      Barrier Report. True and correct copies of those Barrier Reports, identified as Exhibits A through

14      BB, are submitted with this declaration. The reports, including the photographs that are included,

15      identify the barriers to access for persons with disabilities that I found at each facility, with reference

16      to the ADA standards or the CBC code sections and a description of the condition I found at the site.

17      The list of barriers contained in these reports are not necessarily exhaustive, however, as several

18      circumstances often limited my ability to perform a complete inspection. Time was a factor, since we

19      were limited to a single day for each site and some of the larger facilities required more than one day.

20      In addition, some of the rooms were occupied by the resident at the time of the inspection, which

21      created some awkwardness and added to the pressure to get in and out of those rooms quickly.

22      Finally, we were instructed not to touch anything or take photographs of any personal effects, even

23      items like shampoo bottles. This sometimes made it difficult to access certain areas to take

24      measurements or to take photographs of an area where personal items were nearby. Thus, while all of

25      the barriers listed in the reports were present, there were others at each facility that are not listed.

26      Additionally, because of time constraints and the inability to photograph or measure every element of

27      every room, where I could clearly tell by observation that a condition was the same as the condition

28
     [3779845.4]         DECLARATION OF JEFFREY SCOTT MASTIN ISO PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                         Stiner et al., v. Brookdale Senior Living, Inc., LLC, et al., Case No. 4:17-cv-03962-HSG (LB)
                                                                          7
                   Case 4:17-cv-03962-HSG Document 284 Filed 08/18/21 Page 9 of 52




 1      that I had measured in a similarly configured room, I may have chosen not to repeat the measurement

 2      and/or to have documented the condition photographically.
                  C. Applicability of Title III of the ADA, the CBC, and Federal Disability Access
 3                   Design Standards
 4                 21.       It is a responsibility of California architects and disability access experts to determine

 5      the extent to which facilities they inspect are subject to disability access requirements and the

 6      particular access standards that apply. It is my opinion that the Brookdale assisted living facilities in

 7      California that I surveyed are covered by Title III of the ADA and by Title 24 of the CBC.

 8      Specifically, the assisted living and memory care facilities operated by Brookdale are “places of

 9      public accommodation” as defined by the Americans with Disabilities Act (ADA) 42 U.S.C. §

10      12181((7) and its applicable regulations. As such, the public and common areas of the assisted living

11      and memory care facilities must comply with the general requirements of the ADA.

12                 22.      With the passage of the ADA, the Department of Justice issued the ADAAG standards.

13      Since January 26, 1993, owners, operators, and managers of places of public accommodation have

14      been obligated to perform new construction and alterations in compliance with the 1991 ADAAG.

15      On September 15, 2010, the Department of Justice published updated accessible design standards, the

16      2010 ADA Standards for Accessible Design (2010 ADAS). For new construction and alterations

17      commenced between September 15, 2010, and March 15, 2012, public accommodations had to

18      choose and ensure compliance with either the 1991 ADAAG or the 2010 ADAS, Physical

19      construction or alterations commenced by public accommodations on or after March 15, 2012, must

20      comply with the 2010 ADAS.

21                 23.      It is considered the appropriate standard of professional care by California architects to

22      ensure that new construction and alterations be performed in compliance with both the CBC and the

23      applicable federal access standard, whichever is more restrictive. The reason for applying these

24      provisions is that they are the minimum standards for establishing accessibility. I have utilized the

25      most restrictive requirements of the applicable federal access standard (2010 ADAS or 1991

26      ADAAG) and the CBC as the appropriate disability access standard for our work with public

27      accommodations in California. It is widely accepted among California architects who work with

28
     [3779845.4]         DECLARATION OF JEFFREY SCOTT MASTIN ISO PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                         Stiner et al., v. Brookdale Senior Living, Inc., LLC, et al., Case No. 4:17-cv-03962-HSG (LB)
                                                                          8
                   Case 4:17-cv-03962-HSG Document 284 Filed 08/18/21 Page 10 of 52




 1      owners, operators, and managers of public accommodations that compliance with the standards of

 2      both the applicable federal access standard and the CBC, whichever is more restrictive, is necessary

 3      to ensure that persons with mobility disabilities are able to use public accommodation safely and

 4      independently.

 5                                                          METHODOLOGY

 6                 24.      In conducting my surveys, I follow the methods outlined in the Department of Justice’s

 7      ADA Best Practices Tool Kit, Introduction to Appendices 1 and 2. The equipment I use includes a

 8      two-foot digital smart level, a metal tape measurer, a door pressure gauge, and a camera. I record the

 9      information in note form. Typically, I will begin a survey by familiarizing myself with the facility. I

10      will note whether required elements are correctly provided or not and record dimensions and slopes

11      as appropriate. Generally, in conducting the survey of barriers, I will identify if the required

12      accessible features are provided and if they meet the requirements of the 1991 ADAAG and/or the

13      2010 ADAS. For these surveys, I also used the 2016 and 2019 versions of the CBC as a baseline for

14      the current California access standards. This typically involves taking dimensions, slopes, and cross

15      slopes, as applicable, and photographs.

16                 25.      In conducting the surveys, I considered and applied dimensional tolerances.

17                                               OBSERVATIONS AND FINDINGS

18      Newly Constructed Facilities

19                  26.     Pursuant to 28 CFR §36.401, a facility is considered “new construction” if it was

20      designed and constructed for first occupancy after January 26, 1993. Under §36.406, facilities that

21      qualify as new construction must comply with the 1991 ADAAG. Facilities constructed after March

22      15, 2012, must comply with the 2010 ADAS. For facilities constructed before March 15, 2012, but

23      after September 15, 2010, may be made accessible in accordance with either the 1991 ADAAG or the

24      2010 Standards

25                  27.     Defendants’ Supplemental Responses to Plaintiffs’ Interrogatories, Set One, Brookdale

26      identified twenty-seven (27) of its California Assisted Living facilities as having been constructed

27      after January 26, 1993, including Bakersfield, Brookhurst, Carlsbad, Carmel Valley, Citrus Heights,

28
     [3779845.4]         DECLARATION OF JEFFREY SCOTT MASTIN ISO PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                         Stiner et al., v. Brookdale Senior Living, Inc., LLC, et al., Case No. 4:17-cv-03962-HSG (LB)
                                                                          9
                   Case 4:17-cv-03962-HSG Document 284 Filed 08/18/21 Page 11 of 52




 1      Cortona Park, Danville, Elk Grove, Fountaingrove, Hemet, Kettleman Lane, Lodi, Mirage Inn,

 2      Murrieta, North Fremont, Northridge, Paso Robles, Red Bluff, Riverwalk, Roseville, Salinas, San

 3      Dimas, San Juan Capistrano, Sterling Court, Vacaville, Windsor and Yorba Linda. Of these, I

 4      inspected seven (7): Bakersfield, Brookhurst, Hemet, Riverwalk, San Dimas, Vacaville, and Yorba

 5      Linda. Based on a review of construction documents produced in this case, I also identified an

 6      additional Brookdale facility in California that I inspected, Brookdale Magnolia, that was constructed

 7      for first occupancy after January 26, 1993. All 8 of these Brookdale facilities should have been

 8      compliant with the 1991 ADAAG. From my review of available construction records, I did not

 9      identify any facilities that were constructed after September 15, 2010.

10                  28.   The residential units that I inspected at each of the above-identified newly constructed

11      facilities included numerous similar significant barriers in the residents’ bathrooms, including, but

12      not limited to, the following:

13                           a. bathroom entrance doors that are too narrow, are not provided with

14                                accessible maneuvering clearances and are equipped with inaccessible

15                                hardware

16                           b. bathrooms that are too small for a wheelchair to maneuver to use the

17                                elements inside, or in many cases, do not provide enough space to enter

18                                and close the door

19                           c. toilets that lack maneuvering clearances and grab bars that would allow

20                                safe transfer from a wheelchair

21                           d. lavatories lacking knee and toe clearance and/or presenting unprotected

22                                hazardous elements below that can cause injury to those without

23                                sensation in their lower body

24                           e. inaccessible showers and bathtubs, lacking accessible clearances,

25                                without grab bars and seats in accessible locations, and with controls

26                                beyond accessible reach, making it difficult for persons with mobility

27                                disabilities to safely and independently wash themselves.

28
     [3779845.4]      DECLARATION OF JEFFREY SCOTT MASTIN ISO PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                      Stiner et al., v. Brookdale Senior Living, Inc., LLC, et al., Case No. 4:17-cv-03962-HSG (LB)
                                                                      10
                   Case 4:17-cv-03962-HSG Document 284 Filed 08/18/21 Page 12 of 52




 1                  29.   These barriers deny residents with disabilities full and equal access to the bathrooms in

 2      their units by making it difficult or impossible for them to use the toilet, shower, wash their hands,

 3      brush their teeth and/or use the bathroom area for grooming purposes.

 4                  30.   In addition to these bathroom barriers, each of the residents’ units I inspected at the

 5      newly constructed facilities had other barriers to access, including, but not limited to:

 6                           a. kitchen counters that are too high with inaccessible sinks, thus making

 7                                it difficult for residents to use their kitchens prepare and eat food or

 8                                wash their hands

 9                           b. balconies or patio areas that are inaccessible to residents with mobility

10                                disabilities because the door is too narrow and thresholds too high

11                           c. closets with clothes rods and shelves that are too high, making it

12                                difficult or impossible for residents with disabilities to hang up or get

13                                their clothes without assistance.

14                  31.   In the areas outside each of these new construction facilities, including the parking lots,

15      paths of travel and the primary entrances to the building, I consistently observed numerous access

16      barriers. By way of example, these included, but were not limited to, the following:

17                           a. insufficient number of accessible parking spaces

18                           b. accessible parking spaces that are not wide enough or lacked an access

19                                aisle

20                           c. accessible parking spaces that are not level

21                           d. paths of travel leading to and within the facilities that are too narrow or

22                                have steep slopes and potentially hazardous drop-offs, that are difficult

23                                and potentially hazardous for persons with mobility and vision

24                                disabilities

25                           e. overhanging and protruding objects that are not cane-detectable,

26                                presenting hazard to persons with visual disabilities

27                           f. ramps with excessive steep running slopes

28
     [3779845.4]      DECLARATION OF JEFFREY SCOTT MASTIN ISO PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                      Stiner et al., v. Brookdale Senior Living, Inc., LLC, et al., Case No. 4:17-cv-03962-HSG (LB)
                                                                      11
                   Case 4:17-cv-03962-HSG Document 284 Filed 08/18/21 Page 13 of 52




 1                            g. ramps and stairways that lack handrails

 2

 3
                    32.   As a result of these barriers, residents with disabilities encounter barriers that limit or
 4
        deny equal access when they attempt to park at, approach, and/or enter these facilities.
 5
                    33.   The common areas inside Brookdale’s new facilities that I inspected also contained
 6
        many barriers that deny or limit full, equal, and safe access to residents with disabilities and that
 7
        violate the ADAAG and the CBC. In the common area restrooms, for example, I regularly observed
 8
        the following barriers:
 9
                              a. Toilets that are located too far from the wall where the grab bar is
10
                                  located, restrooms lacking maneuvering clearances and toilets not
11
                                  equipped correctly with grab bars, for persons with disabilities to safely
12
                                  stabilize themselves
13
                              b. Lack of knee clearance under lavatories and hazardous unprotected
14
                                  elements located below them
15
                              c. doors that require too much force to open and that close too quickly
16
                              d. doors without required maneuvering clearances
17
                              e. doors that are too narrow
18
                              f. doors with high thresholds
19
                              g. lack of tactile signage for the blind, including room identification and
20
                                  emergency exit signage
21
                              h. items that are located beyond accessible reach range in common areas.
22
                    34.   The dining rooms also contained numerous barriers, including but not limited to tables
23
        that are too low and/or that do not provide adequate knee clearance to residents with mobility
24
        disabilities.
25
                    35.   These facilities frequently contain objects in circulation areas that protrude from the side
26
        or above that don’t comply with the ADAAG or CBC because they are not cane-detectable,
27
        presenting hazards to residents who are blind or who have low vision.
28
     [3779845.4]      DECLARATION OF JEFFREY SCOTT MASTIN ISO PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                      Stiner et al., v. Brookdale Senior Living, Inc., LLC, et al., Case No. 4:17-cv-03962-HSG (LB)
                                                                      12
                   Case 4:17-cv-03962-HSG Document 284 Filed 08/18/21 Page 14 of 52




 1                  36.   Based on the pervasive existence of these types of barriers in facilities that Brookdale

 2      admits are new construction, it is my opinion that Brookdale has a policy and/or practice of

 3      disregarding the existence of such barriers and of failing to remove them or take any other steps to

 4      ensure that its facilities build after January 26, 1993, are compliant with the ADAAG. This is

 5      confirmed by my review of deposition testimony in this case in which Brookdale officials, including

 6      those testifying on behalf of Brookdale as a corporate representative, have taken the position that

 7      Brookdale’s Assisted Living Facilities are not covered by the ADA. For example, Kevin Bowman,

 8      testifying on behalf of Brookdale as a Rule 30(b)(6) designee, asserted that the communities it

 9      operates are not public accommodations covered by title III of the ADA. (Bowman Tr. June 23,

10      2021, at 30:10-31:14. Similarly, Brookdale official Audrey Withers, also testifying on behalf of

11      Brookdale as a Rule 30(b)(6) witness, stated that Brookdale’s California facilities do not “fall under”

12      Title III of the ADA or its standards for disability access. (Withers, Tr. July 23, 2021, at 113:12-

13      114:7). Mr. Bowman also testified in his representative capacity that he was unaware of any survey

14      or analysis conducted by Brookdale to determine whether its assisted living facilities in California

15      comply with the 1991 ADAAG or the 2010 ADAS. (Bowman Tr., June 23, 2021, at 36:11-25).

16      New Facilities Under California Law

17                  37.   Many of the facilities I inspected that were not constructed after January 26, 1993, are

18      still considered new facilities under California law if they were constructed after July 1, 1970.

19      Facilities constructed between July 1970 and December 1981 were required to comply with the

20      American National Standards Institute’s Specifications A117.1/1961 (the “ANSI Standards”). After

21      December 31, 1981, newly constructed facilities were required to comply with the access

22      requirements of Title 24 of the California Code of Regulations (also known as the 1981 CBC). New

23      iterations of the access requirements of the CBC become effective generally every three years. My

24      inspections showed that none of these facilities were fully compliant with the applicable requirements

25      of the CBC.

26                  38.   According to building department records, Brookdale Anaheim, located in Anaheim,

27      California, was originally constructed in 1976. Under California law, this facility was therefore

28
     [3779845.4]      DECLARATION OF JEFFREY SCOTT MASTIN ISO PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                      Stiner et al., v. Brookdale Senior Living, Inc., LLC, et al., Case No. 4:17-cv-03962-HSG (LB)
                                                                      13
                   Case 4:17-cv-03962-HSG Document 284 Filed 08/18/21 Page 15 of 52




 1      required to comply with the ANSI standards. My inspection identified the following barriers at the

 2      Anaheim facility, among others, that do not comply with the ANSI standards:

 3                            a. Lack of signage directing to or identifying accessible routes

 4                            b. Accessible parking spaces that are too narrow

 5                            c. Door thresholds that are too high

 6                            d. Signs that lack tactile characters for the blind

 7                            e. Unprotected hazardous elements located under lavatories

 8                 And within resident units including, but not limited to:

 9                            f. Door thresholds that are too high

10                            g. Closet shelves/clothing rods that are located too high

11                            h. Accessories such as coat hooks, and window blinds and latches that are

12                                 located too high

13                            i. Items such as thermostats and exhaust fans that are located beyond

14                                 accessible reach range

15                            j. Bathroom doors with inadequate maneuvering clearances

16                            k. Bathrooms with inadequate space for a person in a wheelchair to

17                                 maneuver

18                            l. Toilets with no grab bars and/or inadequate grab bars

19                            m. Bathroom lavatories with no or inadequate knee/toe clearance

20                            n. Unprotected hazardous elements located under lavatories

21                  39.   According to building department records, Brookdale Garden Grove, located in

22      Anaheim, California, was originally constructed in 1976. Under California law, this facility was

23      therefore required to comply with the ANSI standards. My inspection identified the following

24      barriers at the Garden Grove facility, among others, that do not comply with the ANSI standards:

25                            a. Lack of signage directing to or identifying accessible routes

26                            b. Exterior walkways that are not wide enough

27                            c. Exterior walkways with excessive running slope

28
     [3779845.4]       DECLARATION OF JEFFREY SCOTT MASTIN ISO PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                       Stiner et al., v. Brookdale Senior Living, Inc., LLC, et al., Case No. 4:17-cv-03962-HSG (LB)
                                                                       14
                   Case 4:17-cv-03962-HSG Document 284 Filed 08/18/21 Page 16 of 52




 1                            d. Accessible parking spaces with steep surface slopes

 2                            e. Door thresholds that are too high

 3                            f. Signs that lack tactile characters for the blind

 4                            g. Unprotected hazardous elements located under lavatories

 5                            h. Inadequate width at toilet alcoves

 6                            i. Inadequate side grab bar at toilet

 7                            j. Lavatories without knee and/or toe clearance

 8                            k. Accessories in restrooms that are beyond accessible reach range

 9                            l. Restroom mirrors that are too high

10                 And within resident units including, but not limited to:

11                            m. Patio/balcony door thresholds that are too high

12                            n. Bathrooms with inadequate space for a person in a wheelchair to

13                                 maneuver

14                            o. Inadequate width at toilet alcoves

15                            p. Toilets with no grab bars and/or inadequate grab bars

16                            q. Bathroom lavatories with no o inadequate knee/toe clearance

17                            r. Bathroom lavatory mirrors that are located too high

18                            s. Unprotected hazardous elements located under lavatories

19                            t. Accessories in bathrooms that are beyond accessible reach range

20                  40.   According to building department records, Brookdale Valley View, located in Garden

21      Grove, California, was originally constructed in 1974. Under California law, this facility was

22      therefore required to comply with the ANSI standards. My inspection identified the following

23      barriers at the Valley View facility, among others, that do not comply with the ANSI standards:

24                            a. Exterior walkways that are not wide enough

25                            b. Exterior walkways with excessive running slope

26                            c. Ramps with excessive running slope

27                            d. Ramps lacking handrails

28
     [3779845.4]       DECLARATION OF JEFFREY SCOTT MASTIN ISO PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                       Stiner et al., v. Brookdale Senior Living, Inc., LLC, et al., Case No. 4:17-cv-03962-HSG (LB)
                                                                       15
                   Case 4:17-cv-03962-HSG Document 284 Filed 08/18/21 Page 17 of 52




 1                            e. Accessible parking spaces with steep surface slopes

 2                            f. Door maneuvering clearances that are too steep

 3                            g. Doors with inadequate maneuvering clearances

 4                            h. Door thresholds that are too high

 5                            i. Doors that are not wide enough

 6                            j. Signs that lack tactile characters for the blind

 7                            k. Unprotected hazardous elements located under lavatories

 8                            l. Accessories in restrooms that are beyond accessible reach range

 9                            m. Restroom mirrors that are too high

10                            n. Inadequate handrail extensions at stair handrails

11                 And within resident units including, but not limited to:

12                            o. Closet shelves/clothing rods that are located too high

13                            p. Patio/balcony doors that are not wide enough

14                            q. Patio/balcony door thresholds that are too high

15                            r. Bathroom doors that are not wide enough

16                            s. Bathroom doors with inadequate maneuvering clearances

17                            t. Toilets with no grab bars and/or inadequate grab bars

18                            u. Bathroom lavatories with no or inadequate knee/toe clearance

19                  41.   According to building department records, Brookdale Alhambra was originally

20      constructed in 1982. Under California law, this facility was therefore required to comply with the

21      1981 iteration of the CBC. My inspection identified the following barriers at this facility, among

22      others, that do not comply with the CBC standards:

23                            a. Lack of signage directing to or identifying accessible routes

24                            b. Exterior walkways with excessive running slope

25                            c. Exterior walkways with excessive cross slope

26                            d. Signs that lack tactile characters for the blind

27                            e. Items that are beyond accessible reach range

28
     [3779845.4]       DECLARATION OF JEFFREY SCOTT MASTIN ISO PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                       Stiner et al., v. Brookdale Senior Living, Inc., LLC, et al., Case No. 4:17-cv-03962-HSG (LB)
                                                                       16
                   Case 4:17-cv-03962-HSG Document 284 Filed 08/18/21 Page 18 of 52




 1                            f. Doors equipped with inaccessible operating hardware

 2                            g. Door thresholds that are too high

 3                            h. Doors that are not wide enough

 4                            i. Doors with inadequate maneuvering clearances

 5                            j. Doors that are not smooth on the bottom of the push side

 6                            k. Doors that close too quickly

 7                            l. Elements that protrude from the side or above, presenting hazards to the

 8                                 blind

 9                            m. Inaccessible locking hardware on restroom door

10                            n. Restrooms with inadequate space for a person in a wheelchair to

11                                 maneuver

12                            o. Inadequate width at toilet alcoves

13                            p. Lavatories with inadequate knee and/or toe clearance

14                            q. Unprotected hazardous elements located under lavatories

15                            r. Accessories in restrooms that are beyond accessible reach range

16                            s. Restroom mirrors that are too high

17                            t. Toilet paper dispenser located too far from toilet

18                            u. Inadequate handrail extensions at stair handrails

19                            v. Stairs without or with inadequate contrast striping at edges of steps and

20                                 landings

21                            w. Stair without handrail at both sides

22                 And within resident units including, but not limited to:

23                            x. Doors that are not wide enough

24                            y. Doors equipped with inaccessible operating hardware

25                            z. Closet shelves/clothing rods that are located too high

26                            aa. Accessories such as coat hooks, and window blinds and latches that are

27                                 located too high

28
     [3779845.4]       DECLARATION OF JEFFREY SCOTT MASTIN ISO PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                       Stiner et al., v. Brookdale Senior Living, Inc., LLC, et al., Case No. 4:17-cv-03962-HSG (LB)
                                                                       17
                   Case 4:17-cv-03962-HSG Document 284 Filed 08/18/21 Page 19 of 52




 1                           bb. Bathroom doors that are not wide enough

 2                           cc. Bathroom doors with inadequate maneuvering clearances

 3                           dd. Bathrooms with inadequate space for a person in a wheelchair to

 4                                maneuver

 5                           ee. Inadequate width at toilet alcoves

 6                           ff. Toilets with no grab bars and/or inadequate grab bars

 7                           gg. Bathroom lavatories with no or inadequate knee/toe clearance

 8                           hh. Unprotected hazardous elements located under lavatories

 9                           ii. Showers that are not of an accessible configuration

10                           jj. Shower thresholds that are too high

11                           kk. Showers that lack an accessible wall-mounted seat

12                           ll. Showers that lack grab bars in required locations

13                         mm. Shower hand-held sprayers that are located too high

14                  42.   According to building department records, Brookdale Anaheim Hills, located in

15      Anaheim Hills, California was originally constructed in 1985. Under California law, the

16      requirements of the 1981 CBC would apply to this facility. My inspection identified the following

17      barriers at this facility, among others, that do not comply with the CBC standards:

18                           a.    Exterior walkways with excessive running slope

19                           b.    Exterior walkways with excessive cross slope

20                           c.    Lack of parking tow away signage

21                           d.    Accessible parking spaces with excessive surface slopes

22                           e.    Accessible spaces located so that users must pass behind other parked

23                                 vehicles

24                           f.    Reception counter that is too high

25                           g.    Door thresholds that are too high

26                           h.    Doors that are not wide enough

27                           i.    Doors with inadequate maneuvering clearances

28
     [3779845.4]      DECLARATION OF JEFFREY SCOTT MASTIN ISO PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                      Stiner et al., v. Brookdale Senior Living, Inc., LLC, et al., Case No. 4:17-cv-03962-HSG (LB)
                                                                      18
                   Case 4:17-cv-03962-HSG Document 284 Filed 08/18/21 Page 20 of 52




 1                            j.    Doors that are not smooth on the bottom of the push side

 2                            k.    Doors that require too much force to operate

 3                            l.    Doors that close too quickly

 4                            m. Elements that protrude from the side or above, presenting hazards to the

 5                                  blind

 6                            n.    Inaccessible locking hardware on restroom door

 7                            o.    Inadequate width at toilet alcoves

 8                            p.    Inadequate grab bar at toilet

 9                            q.    Unprotected hazardous elements located under lavatories

10                            r.    Accessories in restrooms that are beyond accessible reach range

11                            s.    Restroom mirrors that are too high

12                            t.    Toilet flush levers that are located on the wrong side of the toilet

13                            u.    Toilet located too close or too far from the wall

14                            v.    Urinal located too high

15                            w. Toilet paper dispenser located too far from toilet

16                            x.    Inadequate handrail extensions at stair handrails

17                 And within resident units including, but not limited to:

18                            y.     Doors equipped with inaccessible locking hardware

19                            z.     Patio/balcony door thresholds that are too high

20                            aa.    Operable controls for items such as thermostats and fans that are too

21                                   high

22                            bb.    Kitchen/wet bar counters that are too high

23                            cc.    Bathrooms with inadequate space for a person in a wheelchair to

24                                   maneuver

25                            dd.    Inadequate width at toilet alcoves

26                            ee.    Toilet located too close or too far from the wall

27                            ff.    Toilets with no grab bars and/or inadequate grab bars

28
     [3779845.4]       DECLARATION OF JEFFREY SCOTT MASTIN ISO PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                       Stiner et al., v. Brookdale Senior Living, Inc., LLC, et al., Case No. 4:17-cv-03962-HSG (LB)
                                                                       19
                   Case 4:17-cv-03962-HSG Document 284 Filed 08/18/21 Page 21 of 52




 1                           gg.    Toilet flush levers that are located on the wrong side of the toilet

 2                           hh.    Bathroom lavatories with no or inadequate knee/toe clearance

 3                           ii.    Accessories in bathrooms that are beyond accessible reach range

 4                           jj.    Showers that are not of an accessible configuration

 5                           kk.    Shower thresholds that are too high

 6                           ll.    Showers that lack an accessible wall-mounted seat

 7                           mm. Showers that lack grab bars in required locations

 8                           nn.    Shower hand-held sprayers that are located too high

 9                  43.   According to building department records, Brookdale Brea was originally constructed in

10      1987. Under California law, the requirements of the 1985 CBC would apply to this facility. My

11      inspection identified the following barriers at this facility, among others, that do not comply with the

12      CBC standards:

13                           a. Lack of signage directing to or identifying accessible routes

14                           b. Exterior walkways that are not wide enough

15                           c. Exterior walkways with excessive running slope

16                           d. Exterior walkways with excessive cross slope

17                           e. Ramps with excessive running slope

18                           f. Lack of parking tow away signage

19                           g. Accessible parking spaces without identification signs

20                           h. Accessible parking spaces with excessive surface slopes

21                           i. Inadequate number of van accessible parking spaces

22                           j. Accessible parking spaces that are not wide enough

23                           k. Accessible spaces located so that users must pass behind other parked

24                                 vehicles

25                           l. Accessible parking spaces that are located farther from the entrance than

26                                 standard spaces

27

28
     [3779845.4]      DECLARATION OF JEFFREY SCOTT MASTIN ISO PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                      Stiner et al., v. Brookdale Senior Living, Inc., LLC, et al., Case No. 4:17-cv-03962-HSG (LB)
                                                                      20
                   Case 4:17-cv-03962-HSG Document 284 Filed 08/18/21 Page 22 of 52




 1                            m. Items such as doorbells, suggestion boxes or paper towel dispensers that

 2                                 are located too high

 3                            n. Signs that lack tactile characters for the blind

 4                            o. Doors equipped with inaccessible operating hardware

 5                            p. Door thresholds that are too high

 6                            q. Doors that are not wide enough

 7                            r. Doors with inadequate maneuvering clearances

 8                            s. Door maneuvering clearances that are too steep

 9                            t. Doors that are not smooth on the bottom of the push side

10                            u. Elements that protrude from the side or above, presenting hazards to the

11                                 blind

12                            v. Hazardous drop-offs at circulation areas

13                            w. Toilet compartments that are too narrow

14                            x. Lavatories with inadequate knee and/or toe clearance

15                            y. Accessories in restrooms that are beyond accessible reach range

16                            z. Toilet flush levers that are located on the wrong side of the toilet

17                            aa. Toilet located too far from the wall

18                            bb. Inadequate handrail extensions at stair handrails

19                            cc. Stairs without or with inadequate contrast striping at edges of steps and

20                                 landings

21                 And within resident units including, but not limited to:

22                            dd. Doors with inadequate maneuvering clearance

23                            ee. Doors with maneuvering clearances that are not level

24                            ff. Patio/balcony doors that are not wide enough

25                            gg. Patio/balcony door thresholds that are too high

26                            hh. Closet shelves/clothing rods that are located too high

27                            ii. Windows with inaccessible latching hardware

28
     [3779845.4]       DECLARATION OF JEFFREY SCOTT MASTIN ISO PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                       Stiner et al., v. Brookdale Senior Living, Inc., LLC, et al., Case No. 4:17-cv-03962-HSG (LB)
                                                                       21
                   Case 4:17-cv-03962-HSG Document 284 Filed 08/18/21 Page 23 of 52




 1                           jj. Bathroom doors with inaccessible latching hardware

 2                           kk. Bathrooms with inadequate space for a person in a wheelchair to maneuver

 3                           ll. Inadequate width at toilet alcoves

 4                         mm. Toilets with no grab bars and/or inadequate grab bars

 5                           nn. Bathroom lavatories with no or inadequate knee/toe clearance

 6                           oo. Unprotected hazardous elements located under lavatories

 7                           pp. Accessories in bathrooms that are beyond accessible reach range

 8                           qq. Showers that are not of an accessible configuration

 9                           rr. Shower thresholds that are too high

10                           ss. Showers that lack an accessible wall-mounted seat

11                           tt. Showers that lack grab bars in required locations

12                           uu. Shower hand-held sprayers that are located too high

13                  44.   According to building department records, Brookdale Loma Linda was originally

14      constructed in 1986. Under California law, the requirements of the 1985 CBC would apply to this

15      facility. My inspection identified the following barriers at this facility, among others, that do not

16      comply with the CBC standards:

17                           a. Lack of signage directing to or identifying accessible routes

18                           b. Exterior walkways that are not wide enough

19                           c. Exterior walkways with excessive running slope

20                           d. Exterior walkways with excessive cross slope

21                           e. Ramps with excessive running slope

22                           f. Ramps lacking handrails

23                           g. Lack of detectable warnings where pedestrian walks meet hazardous

24                                vehicular areas

25                           h. Lack of parking tow away signage

26                           i. Accessible parking spaces without identification signs

27                           j. Accessible parking spaces without access aisles

28
     [3779845.4]      DECLARATION OF JEFFREY SCOTT MASTIN ISO PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                      Stiner et al., v. Brookdale Senior Living, Inc., LLC, et al., Case No. 4:17-cv-03962-HSG (LB)
                                                                      22
                   Case 4:17-cv-03962-HSG Document 284 Filed 08/18/21 Page 24 of 52




 1                            k. Accessible parking spaces with excessive surface slopes

 2                            l. Inadequate number of accessible parking spaces

 3                            m. Inadequate number of van accessible parking spaces

 4                            n. Accessible spaces located so that users must pass behind other parked

 5                                 vehicles

 6                            o. Signs that lack tactile characters for the blind

 7                            p. Doors equipped with inaccessible operating hardware

 8                            q. Door thresholds that are too high

 9                            r. Doors that are not wide enough

10                            s. Doors that are not smooth on the bottom of the push side

11                            t. Doors that close too quickly

12                            u. Elements that protrude from the side or above, presenting hazards to the

13                                 blind

14                            v. Lavatories with inadequate knee and/or toe clearance

15                            w. Toilet flush levers that are located on the wrong side of the toilet

16                            x. Toilet located too far from the wall

17                            y. Urinal located too high

18                            z. Inadequate handrail extensions at stair handrails

19                            aa. Stairs without or with inadequate contrast striping at edges of steps and

20                                 landings

21                 And within resident units including, but not limited to:

22                            bb. Doors with inadequate maneuvering clearance

23                            cc. Doors equipped with inaccessible locking hardware

24                            dd. Closet shelves/clothing rods that are located too high

25                            ee. Audible fire alarms provided without visual alarms

26                            ff. Bathrooms with inadequate space for a person in a wheelchair to

27                                 maneuver

28
     [3779845.4]       DECLARATION OF JEFFREY SCOTT MASTIN ISO PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                       Stiner et al., v. Brookdale Senior Living, Inc., LLC, et al., Case No. 4:17-cv-03962-HSG (LB)
                                                                       23
                   Case 4:17-cv-03962-HSG Document 284 Filed 08/18/21 Page 25 of 52




 1                           gg. Inadequate width at toilet alcoves

 2                           hh. Bathroom lavatory mirrors that are located too high

 3                           ii. Toilets with no grab bars and/or inadequate grab bars

 4                           jj. Bathroom lavatories that are too high

 5                           kk. Bathroom lavatories with no or inadequate knee/toe clearance

 6                           ll. Showers that are not of an accessible configuration

 7                         mm. Shower thresholds that are too high

 8                           nn. Showers that lack an accessible wall-mounted seat

 9                           oo. Showers that lack grab bars in required locations

10                           pp. Shower hand-held sprayers that are located too high

11                           qq. Shower equipped with inaccessible control hardware

12                  45.   According to building department records, Brookdale North Euclid in Ontario,

13      California was originally constructed in 1986. Under California law, the requirements of the 1985

14      CBC would apply to this facility. My inspection identified the following barriers at this facility,

15      among others, that do not comply with the CBC standards:

16                           a. Lack of signage directing to or identifying accessible routes

17                           b. Exterior walkways with excessive cross slope

18                           c. Ramps lacking handrails

19                           d. Lack of parking tow away signage

20                           e. Inadequate number of van accessible parking spaces

21                           f. Reception counter that is too high

22                           g. Items such as doorbells, suggestion boxes or paper towel dispensers that

23                                are located too high

24                           h. Signs that lack tactile characters for the blind

25                           i. Doors equipped with inaccessible operating hardware

26                           j. Door thresholds that are too high

27                           k. Door maneuvering clearances that are too steep

28
     [3779845.4]      DECLARATION OF JEFFREY SCOTT MASTIN ISO PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                      Stiner et al., v. Brookdale Senior Living, Inc., LLC, et al., Case No. 4:17-cv-03962-HSG (LB)
                                                                      24
                   Case 4:17-cv-03962-HSG Document 284 Filed 08/18/21 Page 26 of 52




 1                            l. Doors that are not smooth on the bottom of the push side

 2                            m. Doors that require too much force to operate

 3                            n. Elements that protrude from the side or above, presenting hazards to the

 4                                 blind

 5                            o. Hazardous drop-offs at circulation areas

 6                            p. Audible fire alarms provided without visual alarms

 7                            q. Toilet compartments that are too narrow

 8                            r. Lavatories with inadequate knee and/or toe clearance

 9                            s. Accessories in restrooms that are beyond accessible reach range

10                            t. Restroom mirrors that are too high

11                            u. Toilet flush levers that are located on the wrong side of the toilet

12                            v. Toilet paper dispenser located too far from toilet

13                            w. Inadequate handrail extensions at stair handrails

14                            x. Stairs without or with inadequate contrast striping at edges of steps and

15                                 landings

16                 And within resident units including, but not limited to:

17                            y. Doors with inadequate maneuvering clearance

18                            z. Doors equipped with inaccessible locking hardware

19                            aa. Patio/balcony doors that are not wide enough

20                            bb. Patio/balcony door thresholds that are too high

21                            cc. Closet shelves/clothing rods that are located too high

22                            dd. Accessories such as coat hooks, and window blinds and latches that are

23                                 located too high

24                            ee. Bathroom doors with inadequate maneuvering clearances

25                            ff. Bathrooms with inadequate space for a person in a wheelchair to

26                                 maneuver

27                            gg. Inadequate width at toilet alcoves

28
     [3779845.4]       DECLARATION OF JEFFREY SCOTT MASTIN ISO PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                       Stiner et al., v. Brookdale Senior Living, Inc., LLC, et al., Case No. 4:17-cv-03962-HSG (LB)
                                                                       25
                   Case 4:17-cv-03962-HSG Document 284 Filed 08/18/21 Page 27 of 52




 1                           hh. Bathroom lavatory mirrors that are located too high

 2                           ii. Toilet flush levers that are located on the wrong side of the toilet

 3                           jj. Bathroom lavatories with no or inadequate knee/toe clearance

 4                           kk. Showers that are not of an accessible configuration

 5                           ll. Shower thresholds that are too high

 6                          mm. Showers that lack an accessible wall-mounted seat

 7                           nn. Showers that lack grab bars in required locations

 8                           oo. Shower hand-held sprayers that are located too high

 9                  46.   According to building department records, Brookdale North Tarzana in Los Angeles,

10      California was originally constructed in 1982. Under California law, the requirements of the 1981

11      CBC would apply to this facility. My inspection identified the following barriers at this facility,

12      among others, that do not comply with the CBC standards:

13                           a. Exterior walkways that are not wide enough

14                           b. Exterior walkways with excessive cross slope

15                           c. Ramps lacking handrails

16                           d. Lack of parking tow away signage

17                           e. Accessible parking spaces with excessive surface slopes

18                           f. Inadequate number of van accessible parking spaces

19                           g. Accessible parking spaces that are not wide enough

20                           h. Door thresholds that are too high

21                           i. Doors that are not wide enough

22                           j. Doors with inadequate maneuvering clearances

23                           k. Doors that are not smooth on the bottom of the push side

24                           l. Doors that close too quickly

25                           m. Elements that protrude from the side or above, presenting hazards to the

26                                blind

27                           n. Inadequate grab bar at toilet

28
     [3779845.4]      DECLARATION OF JEFFREY SCOTT MASTIN ISO PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                      Stiner et al., v. Brookdale Senior Living, Inc., LLC, et al., Case No. 4:17-cv-03962-HSG (LB)
                                                                      26
                   Case 4:17-cv-03962-HSG Document 284 Filed 08/18/21 Page 28 of 52




 1                            o. Lavatories with inadequate knee and/or toe clearance

 2                            p. Accessories in restrooms that are beyond accessible reach range

 3                            q. Restroom mirrors that are too high

 4                            r. Toilet flush levers that are located on the wrong side of the toilet

 5                            s. Toilet paper dispenser located too far from toilet

 6                            t. Inadequate handrail extensions at stair handrails

 7                            u. Stairs without or with inadequate contrast striping at edges of steps and

 8                                 landings

 9                 And within resident units including, but not limited to:

10                            v. Doors with inadequate maneuvering clearance

11                            w. Patio/balcony doors that are not wide enough

12                            x. Patio/balcony door thresholds that are too high

13                            y. Closet shelves/clothing rods that are located too high

14                            z. Operable controls for items such as thermostats and fans that are too

15                                 high

16                            aa. Bathrooms with inadequate space for a person in a wheelchair to

17                                 maneuver

18                            bb. Inadequate width at toilet alcoves

19                            cc. Bathroom lavatory mirrors that are located too high

20                            dd. Toilets with no grab bars and/or inadequate grab bars

21                            ee. Bathroom lavatories with no or inadequate knee/toe clearance

22                            ff. Showers that are not of an accessible configuration

23                            gg. Shower thresholds that are too high

24                            hh. Showers that lack an accessible wall-mounted seat

25                            ii. Showers that lack grab bars in required locations

26                            jj. Shower hand-held sprayers that are located too high

27

28
     [3779845.4]       DECLARATION OF JEFFREY SCOTT MASTIN ISO PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                       Stiner et al., v. Brookdale Senior Living, Inc., LLC, et al., Case No. 4:17-cv-03962-HSG (LB)
                                                                       27
                   Case 4:17-cv-03962-HSG Document 284 Filed 08/18/21 Page 29 of 52




 1                  47.   According to building department records, Brookdale Redwood City in Redwood City,

 2      California was originally constructed in 1987. Under California law, the requirements of the 1985

 3      CBC would apply to this facility. My inspection identified the following barriers at this facility,

 4      among others, that do not comply with the CBC standards:

 5                           a. Lack of signage directing to or identifying accessible routes

 6                           b. Exterior walkways that are not wide enough

 7                           c. Exterior walkways with excessive running slope

 8                           d. Exterior walkways with excessive cross slope

 9                           e. Ramps with excessive running slope

10                           f. Accessible parking spaces with excessive surface slopes

11                           g. Accessible parking spaces that are not wide enough

12                           h. Signs that lack tactile characters for the blind

13                           i. Doors equipped with inaccessible operating hardware

14                           j. Door thresholds that are too high

15                           k. Doors with inadequate maneuvering clearances

16                           l. Door maneuvering clearances that are too steep

17                           m. Doors that are not smooth on the bottom of the push side

18                           n. Doors that require too much force to operate

19                           o. Doors that close too quickly

20                           p. Elements that protrude from the side or above, presenting hazards to the

21                                blind

22                           q. Hazardous drop-offs at circulation areas

23                           r. Lack of restroom door geometric signage

24                           s. Inadequate width at toilet alcoves

25                           t. Inadequate grab bar at toilet

26                           u. Lavatories with inadequate knee and/or toe clearance

27                           v. Unprotected hazardous elements located under lavatories

28
     [3779845.4]      DECLARATION OF JEFFREY SCOTT MASTIN ISO PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                      Stiner et al., v. Brookdale Senior Living, Inc., LLC, et al., Case No. 4:17-cv-03962-HSG (LB)
                                                                      28
                   Case 4:17-cv-03962-HSG Document 284 Filed 08/18/21 Page 30 of 52




 1                            w. Accessories in restrooms that are beyond accessible reach range

 2                            x. Toilet flush levers that are located on the wrong side of the toilet

 3                            y. Toilet paper dispenser located too far from toilet

 4                            z. Inadequate handrail extensions at stair handrails

 5                            aa. Stairs without or with inadequate contrast striping at edges of steps and

 6                                 landings

 7                            bb. Stair without handrail at both sides

 8                 And within resident units including, but not limited to:

 9                            cc. Doors with inadequate maneuvering clearance

10                            dd. Patio/balcony doors that are not wide enough

11                            ee. Patio/balcony door thresholds that are too high

12                            ff. Closet shelves/clothing rods that are located too high

13                            gg. Accessories such as coat hooks, and window blinds and latches that are

14                                 located too high

15                            hh. Operable controls for items such as exhaust fans and ceiling fans that are

16                                 too high

17                            ii. Kitchen sinks with inadequate knee and toe clearance

18                            jj. Bathroom doors with inadequate maneuvering clearances

19                            kk. Inadequate width at toilet alcoves

20                            ll. Toilet located too close or too far from the wall

21                          mm. Toilets with no grab bars and/or inadequate grab bars

22                            nn. Toilet flush levers that are located on the wrong side of the toilet

23                            oo. Bathroom lavatories with no or inadequate knee/toe clearance

24                            pp. Accessories in bathrooms that are beyond accessible reach range

25                            qq. Showers that are not of an accessible configuration

26                            rr. Shower thresholds that are too high

27                            ss. Showers that lack an accessible wall-mounted seat

28
     [3779845.4]       DECLARATION OF JEFFREY SCOTT MASTIN ISO PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                       Stiner et al., v. Brookdale Senior Living, Inc., LLC, et al., Case No. 4:17-cv-03962-HSG (LB)
                                                                       29
                   Case 4:17-cv-03962-HSG Document 284 Filed 08/18/21 Page 31 of 52




 1                            tt. Showers that lack grab bars in required locations

 2                            uu. Shower hand-held sprayers that are located too high

 3                  48.   According to building department records, Brookdale San Marcos in San Marcos,

 4      California was originally constructed in 1986. Under California law, the requirements of the 1985

 5      CBC would apply to this facility. My inspection identified the following barriers at this facility,

 6      among others, that do not comply with the CBC standards:

 7                            a. Lack of signage directing to or identifying accessible routes

 8                            b. Exterior walkways with excessive cross slope

 9                            c. Lack of parking tow away signage

10                            d. Accessible parking spaces with excessive surface slopes

11                            e. Accessible parking spaces that are located farther from the entrance than

12                                 standard spaces

13                            f. Signs that lack tactile characters for the blind

14                            g. Items that are beyond accessible reach range

15                            h. Doors equipped with inaccessible operating hardware

16                            i. Doors with inadequate maneuvering clearances

17                            j. Door maneuvering clearances that are too steep

18                            k. Doors that are not smooth on the bottom of the push side

19                            l. Doors that close too quickly

20                            m. Elements that protrude from the side or above, presenting hazards to the

21                                 blind

22                            n. Toilet compartments that are too narrow

23                            o. Lavatories with inadequate knee and/or toe clearance

24                            p. Toilet flush levers that are located on the wrong side of the toilet

25                            q. Inadequate handrail extensions at stair handrails

26                 And within resident units including, but not limited to:

27                            r. Doors equipped with inaccessible locking hardware

28
     [3779845.4]       DECLARATION OF JEFFREY SCOTT MASTIN ISO PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                       Stiner et al., v. Brookdale Senior Living, Inc., LLC, et al., Case No. 4:17-cv-03962-HSG (LB)
                                                                       30
                   Case 4:17-cv-03962-HSG Document 284 Filed 08/18/21 Page 32 of 52




 1                           s. Patio/balcony doors that are not wide enough

 2                           t. Patio/balcony door thresholds that are too high

 3                           u. Closet shelves/clothing rods that are located too high

 4                           v. Accessories such as coat hooks, and window blinds and latches that are

 5                                located too high

 6                           w. Operable controls for items such as thermostats and fans that are too

 7                                high

 8                           x. Kitchen/wet bar counters that are too high

 9                           y. Bathroom doors with inadequate maneuvering clearances

10                           z. Bathroom doors with inaccessible locking hardware

11                           aa. Bathrooms with inadequate space for a person in a wheelchair to

12                                maneuver

13                           bb. Inadequate width at toilet alcoves

14                           cc. Bathroom lavatory mirrors that are located too high

15                           dd. Toilet located too close or too far from the wall

16                           ee. Toilets with no grab bars and/or inadequate grab bars

17                           ff. Bathroom lavatories with no or inadequate knee/toe clearance

18                           gg. Accessories in bathrooms that are beyond accessible reach range

19                           hh. Showers that are not of an accessible configuration

20                           ii. Shower thresholds that are too high

21                           jj. Showers that lack an accessible wall-mounted seat

22                           kk. Showers that lack grab bars in required locations

23                  49.   According to building department records, Brookdale Santa Monica Gardens in Santa

24      Monica, California was originally constructed in 1986. Under California law, the requirements of the

25      1985 CBC would apply to this facility. My inspection identified the following barriers at this

26      facility, among others, that do not comply with the CBC standards:

27                           a.   Exterior walkways that are not wide enough

28
     [3779845.4]      DECLARATION OF JEFFREY SCOTT MASTIN ISO PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                      Stiner et al., v. Brookdale Senior Living, Inc., LLC, et al., Case No. 4:17-cv-03962-HSG (LB)
                                                                      31
                   Case 4:17-cv-03962-HSG Document 284 Filed 08/18/21 Page 33 of 52




 1                            b. Exterior walkways with excessive running slope

 2                            c. Exterior walkways with excessive cross slope

 3                            d. Ramps lacking handrails

 4                            e. Accessible parking spaces with excessive surface slopes

 5                            f. Inadequate number of accessible parking spaces

 6                            g. Accessible parking spaces that are not wide enough

 7                            h. Signs that lack tactile characters for the blind

 8                            i. Doors equipped with inaccessible operating hardware

 9                            j. Door thresholds that are too high

10                            k. Doors that are not wide enough

11                            l. Doors with inadequate maneuvering clearances

12                            m. Doors that are not smooth on the bottom of the push side

13                            n. Doors that require too much force to operate

14                            o. Doors that close too quickly

15                            p. Elements that protrude from the side or above, presenting hazards to the

16                                 blind

17                            q. Hazardous drop-offs at circulation areas

18                            r. Audible fire alarms provided without visual alarms

19                            s. Toilet compartments that are too narrow

20                            t. Inadequate grab bar at toilet

21                            u. Lavatories with inadequate knee and/or toe clearance

22                            v. Accessories in restrooms that are beyond accessible reach range

23                            w. Toilet located too far from the wall

24                            x. Stairs without or with inadequate contrast striping at edges of steps and

25                                 landings

26                 And within resident units including, but not limited to:

27                            y. Doors with inadequate maneuvering clearance

28
     [3779845.4]       DECLARATION OF JEFFREY SCOTT MASTIN ISO PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                       Stiner et al., v. Brookdale Senior Living, Inc., LLC, et al., Case No. 4:17-cv-03962-HSG (LB)
                                                                       32
                   Case 4:17-cv-03962-HSG Document 284 Filed 08/18/21 Page 34 of 52




 1                           z. Doors equipped with inaccessible operating hardware

 2                           aa. Doors equipped with inaccessible locking hardware

 3                           bb. Patio/balcony door thresholds that are too high

 4                           cc. Closet shelves/clothing rods that are located too high

 5                           dd. Operable controls for items such as thermostats and fans that are too

 6                                high

 7                           ee. Kitchen sinks with inadequate knee and toe clearance

 8                           ff. Kitchen/wet bar counters that are too high

 9                           gg. Bathroom doors with inadequate maneuvering clearances

10                           hh. Bathroom doors with inaccessible locking hardware

11                           ii. Bathrooms with inadequate space for a person in a wheelchair to

12                                maneuver

13                           jj. Inadequate width at toilet alcoves

14                           kk. Bathroom lavatory mirrors that are located too high

15                           ll. Bathroom lavatories with no or inadequate knee/toe clearance

16                         mm. Unprotected hazardous elements located under lavatories

17                           nn. Showers that are not of an accessible configuration

18                           oo. Shower thresholds that are too high

19                           pp. Showers that lack an accessible wall-mounted seat

20                           qq. Showers that lack grab bars in required locations

21                           rr. Shower hand-held sprayers that are located too high

22                  50.   According to building department records, Brookdale Uptown Whittier in Whittier,

23      California was originally constructed in 1987. Under California law, the requirements of the 1985

24      CBC would apply to this facility. My inspection identified the following barriers at this facility,

25      among others, that do not comply with the CBC standards:

26                           a. Lack of signage directing to or identifying accessible routes

27                           b. Exterior walkways with excessive running slope

28
     [3779845.4]      DECLARATION OF JEFFREY SCOTT MASTIN ISO PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                      Stiner et al., v. Brookdale Senior Living, Inc., LLC, et al., Case No. 4:17-cv-03962-HSG (LB)
                                                                      33
                   Case 4:17-cv-03962-HSG Document 284 Filed 08/18/21 Page 35 of 52




 1                            c. Exterior walkways with excessive cross slope

 2                            d. Ramps with excessive running slope

 3                            e. Ramps lacking handrails

 4                            f. Inadequate number of van accessible parking spaces

 5                            g. Accessible parking spaces that are not wide enough

 6                            h. Signs that lack tactile characters for the blind

 7                            i. Items that are beyond accessible reach range

 8                            j. Door thresholds that are too high

 9                            k. Doors with inadequate maneuvering clearances

10                            l. Doors that are not smooth on the bottom of the push side

11                            m. Elements that protrude from the side or above, presenting hazards to the

12                                 blind

13                            n. Restrooms with inadequate space for a person in a wheelchair to

14                                 maneuver

15                            o. Inadequate width at toilet alcoves

16                            p. Toilet compartments that are too narrow

17                            q. Inadequate grab bar at toilet

18                            r. Restroom mirrors that are too high

19                            s. Toilet paper dispenser located too far from toilet

20                            t. Inadequate handrail extensions at stair handrails

21                            u. Stairs without or with inadequate contrast striping at edges of steps and

22                                 landings

23                            v. Stair without handrail at both sides

24                 And within resident units including, but not limited to:

25                            w. Doors with inadequate maneuvering clearance

26                            x. Doors equipped with inaccessible operating hardware

27                            y. Patio/balcony doors that are not wide enough

28
     [3779845.4]       DECLARATION OF JEFFREY SCOTT MASTIN ISO PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                       Stiner et al., v. Brookdale Senior Living, Inc., LLC, et al., Case No. 4:17-cv-03962-HSG (LB)
                                                                       34
                   Case 4:17-cv-03962-HSG Document 284 Filed 08/18/21 Page 36 of 52




 1                           z. Patio/balcony door thresholds that are too high

 2                           aa. Closet shelves/clothing rods that are located too high

 3                           bb. Operable controls for items such as thermostats and fans that are too high

 4                           cc. Kitchen/wet bar counters that are too high

 5                           dd. Bathrooms with inadequate space for a person in a wheelchair to maneuver

 6                           ee. Inadequate width at toilet alcoves

 7                           ff. Toilets with no grab bars and/or inadequate grab bars

 8                           gg. Accessories in bathrooms that are beyond accessible reach range

 9                           hh. Showers that are not of an accessible configuration

10                           ii. Shower thresholds that are too high

11                           jj. Showers that lack an accessible wall-mounted seat

12                           kk. Showers that lack grab bars in required locations

13                           ll. Shower equipped with inaccessible control hardware

14                  51.   According to building department records, Brookdale Walnut in Walnut, California was

15      originally constructed in 1987. Under California law, the requirements of the 1985 CBC would apply

16      to this facility. My inspection identified the following barriers at this facility, among others, that do

17      not comply with the CBC standards:

18                           a. Lack of signage directing to or identifying accessible routes

19                           b.   Exterior walkways that are not wide enough

20                           c. Exterior walkways with excessive running slope

21                           d. Exterior walkways with excessive cross slope

22                           e. Ramps with excessive running slope

23                           f. Accessible parking spaces with excessive surface slopes

24                           g. Inadequate number of van accessible parking spaces

25                           h. Accessible parking spaces that are not wide enough

26                           i. Reception counter that is too high

27                           j. Signs that lack tactile characters for the blind

28
     [3779845.4]      DECLARATION OF JEFFREY SCOTT MASTIN ISO PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                      Stiner et al., v. Brookdale Senior Living, Inc., LLC, et al., Case No. 4:17-cv-03962-HSG (LB)
                                                                      35
                   Case 4:17-cv-03962-HSG Document 284 Filed 08/18/21 Page 37 of 52




 1                            k. Items that are beyond accessible reach range

 2                            l. Door thresholds that are too high

 3                            m. Doors with inadequate maneuvering clearances

 4                            n. Doors that close too quickly

 5                            o. Elements that protrude from the side or above, presenting hazards to the

 6                                 blind

 7                            p. Hazardous drop-offs at circulation areas

 8                            q. Inadequate grab bar at toilet

 9                            r. Lavatories with inadequate knee and/or toe clearance

10                            s. Unprotected hazardous elements located under lavatories

11                            t. Accessories in restrooms that are beyond accessible reach range

12                            u. Toilet flush levers that are located on the wrong side of the toilet

13                 And within resident units including, but not limited to:

14                            v. Doors with inadequate maneuvering clearance

15                            w. Doors equipped with inaccessible locking hardware

16                            x. Closet shelves/clothing rods that are located too high

17                            y. Bathrooms with inadequate space for a person in a wheelchair to

18                                 maneuver

19                            z. Inadequate width at toilet alcoves

20                            aa. Bathroom lavatory mirrors that are located too high

21                            bb. Toilets with no grab bars and/or inadequate grab bars

22                            cc. Bathroom lavatories with no or inadequate knee/toe clearance

23                            dd. Accessories in bathrooms that are beyond accessible reach range

24                            ee. Showers that are not of an accessible configuration

25                            ff. Shower thresholds that are too high

26                            gg. Showers that lack an accessible wall-mounted seat

27                            hh. Showers that lack grab bars in required locations

28
     [3779845.4]       DECLARATION OF JEFFREY SCOTT MASTIN ISO PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                       Stiner et al., v. Brookdale Senior Living, Inc., LLC, et al., Case No. 4:17-cv-03962-HSG (LB)
                                                                       36
                   Case 4:17-cv-03962-HSG Document 284 Filed 08/18/21 Page 38 of 52




 1                           ii. Shower hand-held sprayers that are located too high

 2                  52.   In summary, none of the facilities that I inspected that were newly constructed under

 3      California law between July 1, 1970 and January 26, 1993 complied with the California accessibility

 4      standards that applied to them when they were built. The barriers that I observed in those facilities

 5      would deny or limit full and equal access to persons with mobility and/or vision disabilities.

 6                  53.   Under the ADA and California law, Brookdale is required to remove barriers that do not

 7      comply with federal and state access standards from the newly constructed facilities that it owns,

 8      operates and/or manages in California. See, e.g., 28 C.F.R. § 36.406(a)(5)(ii) (“Newly constructed or

 9      altered facilities or elements covered by §§ 36.401 or 36.402 that were constructed or altered before

10      March 15, 2012 and that do not comply with the 1991 Standards shall, on or after March 15, 2012, be

11      made accessible in accordance with the 2010 Standards.”); Cal. Govt. Code § 4452 (“It is the intent

12      of the Legislature that the building standards published in the State Building Standards Code relating

13      to access by the physically handicapped and the other regulations adopted by the State Architect

14      pursuant to Section 4450 shall be used as minimum requirements to insure that buildings, structures

15      and related facilities covered by this chapter are accessible to, and functional for, the physically

16      handicapped to, through, and within their doors, without loss of function, space, or facility where the

17      general public is concerned. Any unauthorized deviation from such regulations or building standards

18      shall be rectified by full compliance within 90 days after discovery of the deviation.”).

19                  54.   Based on my review of deposition testimony in this case, Brookdale does not have in

20      place any policies or procedures that are designed to ensure that it is in compliance with the

21      requirements of federal and state law with respect to new construction and alterations. Kevin.

22      Bowman, Brookdale’s Rule 30(b)(6) designee regarding disability access and Brookdale’s policies,

23      practices, and procedures with respect to disability access, testified that Brookdale does not consider

24      itself to be covered by Title III of the ADA. Deposition of Kevin Bowman of June 23, 2021 at

25      18:12-19:9; 30:9-31:14. Audrey Withers, testifying on behalf of Brookdale as a Rule 30(b)(6) on the

26      issue of training, also testified that Brookdale’s California facilities do not “fall under” Title III of the

27

28
     [3779845.4]      DECLARATION OF JEFFREY SCOTT MASTIN ISO PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                      Stiner et al., v. Brookdale Senior Living, Inc., LLC, et al., Case No. 4:17-cv-03962-HSG (LB)
                                                                      37
                   Case 4:17-cv-03962-HSG Document 284 Filed 08/18/21 Page 39 of 52




 1      ADA or its standards for disability access. Deposition of Audrey Withers, Senior Human Resources

 2      Business Partner, of July 23, 2021, at 113:12-114:7.

 3                  55.   With respect to new construction or alterations to facilities, Brookdale does not have

 4      any policies and procedures for ensuring compliance with Title III of the ADA or its access

 5      standards. Id. at 42:14-43:6; 58:8-11; 62:13-20. Brookdale has no written definition of what is

 6      accessible or what constitutes a barrier to persons with mobility or vision disabilities. Id. at 57:9-25;

 7      63:10-18. Nor has it conducted any survey or inspection in order to determine whether the assisted

 8      living facilities that it owns, operates and/or manages, and that are covered by the new construction

 9      and/or alterations requirements of the ADA and the Unruh Act, comply with the 1991 ADAAG or the

10      CBC. Id. at 61:6-11; 115:3-118:25. Brookdale has also not set any deadline for removing any of the

11      access barriers in its newly constructed or altered facilities in California. Id. at 106:5-21.

12      Altered Facilities

13                  56.   Based on my review of the construction history documents produced in this case for the

14      Brookdale facilities I inspected, most of those facilities have been altered since January 26, 1992.

15      Under the ADA and its applicable regulations, areas of alteration to a public accommodation that are

16      begun after that date must be made to ensure that, to the maximum extent feasible, the altered

17      portions of the facility are readily accessible to and usable by individuals with disabilities, including

18      individuals who use wheelchairs. 28 C.F.R. 36.402. As with newly constructed facilities, this means

19      that the altered portion of the facility must comply with the 1991 ADAAG or, depending on the date

20      of the alteration, the 2010 Standards. 28 C.F.R. § 36.406. In addition, if the alteration is to an area of

21      the facility where a major activity for which the facility is intended occurs, the path of travel to that

22      altered area and the restrooms serving that area must also be made to be accessible.

23                  57.   I inspected many Brookdale facilities that I determined, based on my review of

24      construction records, have been altered since January 26, 1992. None of these facilities comply with

25      applicable federal and state access standards with respect to the altered portion of the facilities or the

26      path of travel leading to those areas. Similarly, in most of these instances, Brookdale has failed to

27      make the path of travel leading to the areas of alteration compliant with the 1991 ADAAG or the

28
     [3779845.4]      DECLARATION OF JEFFREY SCOTT MASTIN ISO PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                      Stiner et al., v. Brookdale Senior Living, Inc., LLC, et al., Case No. 4:17-cv-03962-HSG (LB)
                                                                      38
                   Case 4:17-cv-03962-HSG Document 284 Filed 08/18/21 Page 40 of 52




 1      2010 ADAS. Examples of such facilities are described in the following paragraphs.

 2                  58.   According to city building permit records, the facility known as Brookdale Corona,

 3      located at 2005 Kellogg Avenue in Corona, California, underwent significant physical improvements

 4      in 1998, valued at $400,000.00. They included adding walls to the dining area to create a beauty

 5      parlor, library, recreation area and café. Additional improvements, valued at $75,880, included

 6      adding skylights, fencing and a 110 square foot lattice patio cover.

 7                  59.   Notwithstanding the above-described alterations to the Brookdale Corona facility, my

 8      inspection of that facility established that there were numerous barriers in the path of travel between

 9      the public right of way and the main entrance of the facility through which the areas of improvement

10      can be reached. These include the lack of signage directing persons to the accessible entrance,

11      excessive running slopes on ramps, inadequate edge protection on ramps, handrails that too high and

12      have extensions that are too short, and landings between ramps that are too small and have excessive

13      slopes. Other path of travel barriers include a curb ramp with an excessive running slope, and an

14      excessive top landing slope. All of these barriers are non-compliant with ADAAG and/or the CBC.

15                  60.   The Corona facility also has access barriers in the dining room, including signage,

16      seating, and door issues. In addition, those areas identified in my inspection report as the activity

17      room, spa, and movie room correspond to the areas identified in the construction documents as the

18      recreation area, cafe, beauty parlor and library, each have many barriers that violate ADAAG and

19      other applicable access standards. Such barriers include signage issues, reach range barriers, door

20      thresholds that are too high, work surface areas and seating obstructions, excessive door operating

21      forces and other barriers.

22                  61.   According to building department records, the facility that is Brookdale Garden Grove

23      at 10200 Chapman Avenue in Garden Grove was altered in 2013 by the addition of a dining area and

24      living room with a kitchen area and by interior remodeling for offices and a reception/discovery

25      room. The remodeling work was valued at $180,000.

26                  62.   Like the Corona facility, Brookdale Garden Grove had barriers in the path of travel

27      leading from the public right of way to the entrance of the facility, including ramp running slopes that

28
     [3779845.4]      DECLARATION OF JEFFREY SCOTT MASTIN ISO PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                      Stiner et al., v. Brookdale Senior Living, Inc., LLC, et al., Case No. 4:17-cv-03962-HSG (LB)
                                                                      39
                   Case 4:17-cv-03962-HSG Document 284 Filed 08/18/21 Page 41 of 52




 1      are excessive, missing edge protection on the ramp, the absence of handrails on the ramp, and top

 2      landings with excessive slopes. The dining room has several signage and seating barriers, including

 3      the absence of any accessible seating providing the required knee and toe clearances.

 4                  63.   In September of 1992, the facility known as Brookdale Ocean House at 2107 Ocean

 5      Avenue in Santa Monica added a 1,100 square foot roof top enclosure and game room at a cost of

 6      approximately $60,000. Further alterations were made to the site in 1999, at a cost of $1,693,737, in

 7      the form of a seismic retrofit, an arch remodel and an addition of 1,792 square feet to the 10th floor.

 8      Construction plans also indicate that significant renovations were made to the first floor of the

 9      building.

10                  64.   My inspection of the Brookdale Ocean House facility identified many access barriers on

11      both the first and tenth floors, including barriers in the game room on the tenth floor. The first floor,

12      which also serves as the entry way to this high-rise facility through a gated parking lot, has barriers in

13      the form of passenger loading zones that lacked appropriate markings and have excessive slopes,

14      signage issues, doors with excessive operating forces, the lack of an accessible drinking fountain.

15      Both restrooms located on the first floor have improperly placed flush valves, toilet paper dispensers,

16      mirrors, towel dispensers, soap dispensers, coat hooks and grab bars and have insufficient knee

17      clearance at the sink. The dining room on the first floor lacks accessible seating and proper signage.

18      Some of the doors lack adequate maneuvering space and are too steep.

19                  65.   The tenth floor of the Ocean House facility has barriers that include the lack of proper

20      signage, automatic closing doors that close too quickly, ramps leading to the doors with slopes that

21      are excessive and cross slopes on the terrace. There are two single-accommodation restrooms on the

22      tenth floor that have barriers similar to those on the first floor. The game room on the tenth floor

23      lacks the required accessible seating due to inadequate toe clearances at the tables provided. The

24      library on the tenth floor also lacks accessible seating due to inadequate knee and toe clearances at

25      the provided table and counter seating provided.

26                  66.   All of the barriers in the altered areas of the Brookdale Ocean House facility violate

27      ADAAG.

28
     [3779845.4]      DECLARATION OF JEFFREY SCOTT MASTIN ISO PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                      Stiner et al., v. Brookdale Senior Living, Inc., LLC, et al., Case No. 4:17-cv-03962-HSG (LB)
                                                                      40
                   Case 4:17-cv-03962-HSG Document 284 Filed 08/18/21 Page 42 of 52




 1                  67.   In 2013, the Brookdale Chatsworth facility at 20801 Devonshire Blvd. in Los Angeles

 2      underwent an interior remodel that converted four resident rooms to a common use recreation room,

 3      laundry room and administrative office, including a change of exterior doors and windows, at a cost

 4      of $127,215.00.

 5                  68.   My survey of the Brookdale Chatsworth facility included an inspection of the route

 6      between the parking and the entrance to the facility, which is the path of travel to the improved area.

 7      This route has multiple barriers that include an inadequate smooth area on the push side of the

 8      swinging door and a threshold that exceeds the maximum height permitted by ADAAG or the CBC.

 9      They also include ramps with missing or incomplete handrails, handrails that are the wrong height,

10      and handrails that don’t extend sufficiently beyond the top and bottom of the ramp. The ramps also

11      have excessive running and cross slopes and lack level landings. Both the activity room on the first

12      floor in the lobby area and the activity room at the new Northwest addition also have access barriers,

13      including tables with that lack adequate knee and toe clearance, door hardware and fixture hardware

14      that is inaccessible, and counters that are too high.

15                  69.   As with new construction, I observed pervasive access barriers in areas of alteration at

16      Brookdale’s California facilities. In my opinion, the existence of these barriers is the direct result of

17      Brookdale’s failure to adopt and implement any policy or procedure for ensuring that alterations have

18      been or are performed in compliance with applicable ADA regulations or standards. According to its

19      designated Rule 30(b)6) witness, Brookdale has no written policies and procedures regarding

20      compliance with the ADA or California access standards when performing alterations to its facilities.

21      Deposition of Kevin Bowman dated June 23, 2021, at 62:13-20; 139:2-142:25. In fact, Brookdale’s

22      Rule 30(b)(6) witness, testifying on behalf of Defendants, had no knowledge of what constitutes an

23      alteration within the meaning of the ADA and its regulations. Id. at 148:14-149:2. Brookdale further

24      testified, through its designees, that it has no employees with expertise in disability access (id. at

25      40:11-41:14), that its employees are not trained on the requirements of federal or state access

26      standards including the 2010 ADAS, the 1991 ADAAG and the CBC (id. at 38:1-10), and that it does

27      not retain any access consultants for purposes of reviewing construction projects to ensure that they

28
     [3779845.4]      DECLARATION OF JEFFREY SCOTT MASTIN ISO PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                      Stiner et al., v. Brookdale Senior Living, Inc., LLC, et al., Case No. 4:17-cv-03962-HSG (LB)
                                                                      41
                   Case 4:17-cv-03962-HSG Document 284 Filed 08/18/21 Page 43 of 52




 1      comply with federal and state access standards (id. at 119:1-7). Brookdale does not conduct any

 2      survey or inspection at project close-out to determine whether its alterations projects comply with

 3      applicable access standards, nor does it have any written procedures or checklists for ensuring that

 4      alterations comply with the requirements of federal or state access standards. Id. at 139:10-142:24.

 5      And Brookdale has not set any deadline for the remediation of any work that does not comply with

 6      federal and state standards. Id. at 106:5-21. Based on this testimony and my facility surveys and

 7      review of the material in this case, it is my opinion that Defendants’ policies and procedures do not

 8      ensure compliance with the ADA and other disability access laws and standards. In fact, Defendants’

 9      policies, or lack thereof, make non-compliance inevitable.

10      Readily Achievable Barrier Removal – All Facilities.

11                  70.   Under the ADA and California law, the owner, operator and/or manager of a public

12      accommodation is required to remove access barriers from its facilities regardless of the age of the

13      facility if doing is “readily achievable, i.e., easily accomplished and able to be carried out without

14      much difficulty or expense. 28 C.F.R. § 36.304. The U.S. DOJ has provided a non-exhaustive list of

15      examples of readily achievable barrier removal at 28 C.F.R. 36.304(b).

16                  71.   In my survey of Brookdale’s California Assisted Living facilities, I observed many

17      barriers at every facility I inspected that could be removed without much difficulty or expense,

18      including those specifically identified by the DOJ. Readily achievable barrier removal actions

19      identified by DOJ that need to be taken at Brookdale’s California facilities include the following:

20                           a. Installing accessible ramps to replace those that are too steep or that lack a

21                              smooth and even surface as required by federal and state access standards

22                           b. Making curb cuts in sidewalks and entrances

23                           c. Repositioning shelves

24                           d. Rearranging tables, chairs, and other furniture

25                           e. Adding raised markings on elevator control buttons

26                           f. Installing flashing alarm lights

27                           g. Widening doors

28
     [3779845.4]      DECLARATION OF JEFFREY SCOTT MASTIN ISO PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                      Stiner et al., v. Brookdale Senior Living, Inc., LLC, et al., Case No. 4:17-cv-03962-HSG (LB)
                                                                      42
                   Case 4:17-cv-03962-HSG Document 284 Filed 08/18/21 Page 44 of 52




 1                           h. Installing accessible door hardware

 2                           i. Installing grab bars where required and in the proper positions

 3                           j. Installing lavatory pipes under sinks to prevent burns or abrasions

 4                           k. Installing raised toilet seats

 5                           l. Installing bathroom mirrors at the proper heights

 6                           m. Repositioning paper towel dispensers in bathrooms

 7                           n. Creating or reconfiguring accessible parking spaces to make them

 8                               compliant

 9                           o. Removing high pile, low density carpeting

10                  72.   This list from the DOJ’s regulations is not exhaustive, and I identified many other

11      barriers in each of the facilities I inspected that could be removed by means of the following, readily

12      achievable steps:

13                           a. Installing properly configured hand rails on ramps

14                           b. Adding compliant handrail extensions to existing hand rails

15                           c. Lowering clothes-hanging rods that are too high

16                          d.    Lowering thermostat controls that are too high

17                          e.    Providing compliant controls for windows and blinds

18                          f.    Providing toilet paper dispensers and soap dispensers at proper height

19                                and locations

20                          g.    Providing medicine cabinets and other fixtures that are within the

21                                required reach range

22                         h. Providing toilets that comply with federal and state access standards in

23                               terms of height and distance from the adjacent wall

24                         i. Replacing inaccessible furniture that does not provide the required knee

25                               and/or toe clearance

26                         j. Raising and/or relocating a wall-mounted lavatory or lavatory counter

27                         k. Lowering excessive door pressures and adjusting door closing times

28
     [3779845.4]      DECLARATION OF JEFFREY SCOTT MASTIN ISO PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                      Stiner et al., v. Brookdale Senior Living, Inc., LLC, et al., Case No. 4:17-cv-03962-HSG (LB)
                                                                      43
                   Case 4:17-cv-03962-HSG Document 284 Filed 08/18/21 Page 45 of 52




 1                         l. Replacing or removing doorway thresholds that are too high

 2                         m. Providing signage directing to intended accessible routes

 3                         n. Relocating tactile signs to the required locations so that persons with

 4                             visual disabilities can expect to locate them

 5                         o. Providing tactile room identification and exit signs

 6                         p. Providing cane-detectable barriers at protruding or overhead objects

 7                         q. Providing audible signals and alarms

 8                  73.   In my experience, these are barriers that are routinely removed by other entities covered

 9      by Title III of the ADA. It is my opinion that all of these barriers can readily be removed without

10      difficulty and at a cost of $5,000 per item or less. Creating designated accessible parking spaces is a

11      readily achievable barrier removal item that is routinely carried out by the owners, operators, or

12      managers of public accommodations.

13                  74.   The bathrooms in the resident’s units and the common area restrooms contained many

14      barriers that fall within the category of being readily achievable. Most of the residential units that

15      were inspected lacked grab bars in the bathrooms that comply with federal and state standards. Many

16      of the bathrooms in the units lacked an accessible toilet. This was also true of many of the public

17      restrooms. Providing a compliant toilet is another fix that is readily achievable.

18                  75.   There were numerous other readily achievable barrier removal items in the resident’s

19      units. Clothing rods are mounted too high and outside the reach range of many wheelchair users.

20      The clothing rods in the closets can be re-mounted at a compliant height without difficulty or

21      expense; this fix is in the nature of a maintenance item. Similarly, thermostats and switches in the

22      units were often mounted too high, and have controls that require tight pinching or grasping in

23      violation of the ADAAG and the CBC. These controls can easily be replaced with push-button

24      controls at a compliant height so that residents with mobility disabilities can control the temperature

25      in their units without needing assistance from a nondisabled person. Other “reach range” barriers in

26      the units include built-in microwaves in the kitchens that are mounted at an inaccessible height, and

27      that should be lowered. Also, the controls for the windows and the blinds require tight pinching and

28
     [3779845.4]      DECLARATION OF JEFFREY SCOTT MASTIN ISO PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                      Stiner et al., v. Brookdale Senior Living, Inc., LLC, et al., Case No. 4:17-cv-03962-HSG (LB)
                                                                      44
                   Case 4:17-cv-03962-HSG Document 284 Filed 08/18/21 Page 46 of 52




 1      grasping to operate, and do not comply with ADAAG or the CBC. These controls can easily be

 2      replaced and made compliant, thus allowing residents to open and close their windows and blinds

 3      without assistance.

 4                  76.   The common areas in Brookdale’s assisted living facilities have many significant

 5      access barriers that can be removed with little expense or difficulty. For example, Brookdale’s

 6      dining room furniture includes tables that lack compliant knee and clearance for wheelchair users.

 7      Brookdale’s facilities are also characterized by heavy doors with fast closing speeds that do not

 8      comply with federal and state standards, thus creating a falling hazard for residents with mobility

 9      disabilities. Such excessive door pressures can easily be made compliant by maintenance staff, or if

10      a fire door (which permits a higher pressure) is at issue, an automatic door opener can be installed

11      with little cost or difficulty.

12                  77. According to the testimony of Brookdale’s Rule 30(b)(6) designee, Mr. Bowman,

13      Brookdale does not have any written policy for identifying and removing barriers whose removal is

14      readily achievable. (Bowman June 23, 2021, Tr. at 62:22-63:4; 166:14-20). Brookdale has not

15      conducted any survey or analysis to identify access barriers that would be readily achievable to

16      remove from its assisted living facilities in California. Nor has Brookdale developed any plan or set

17      any deadline for completing the removal of such access barriers from its facilities. (Bowman June

18      23, 2021, Tr. at 173:2-10). Thus, it is my opinion that Brookdale has no policies or procedures in

19      place to complete readily achievable barrier removal in its facilities and that, the pervasive existence

20      of barriers throughout ‘Brookdale’s California facilities that could be removed without much

21      difficulty or expense is a direct result of Brookdale’s failure to establish and implement such policies.

22      Shuttle vehicles

23                  78.   In addition to inspecting the physical facilities, I inspected the vehicles at each facility

24      that were made available to me that I understand are used to transport residents to and from off-

25      property events. Almost all the facilities employed one shuttle vehicle equipped with a lift that can

26      accommodate no more than two wheelchair users. Some facilities had two such shuttles. One facility

27      had such a shuttle, but could not operate the shuttle during the inspection due to the lack of staff

28
     [3779845.4]      DECLARATION OF JEFFREY SCOTT MASTIN ISO PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                      Stiner et al., v. Brookdale Senior Living, Inc., LLC, et al., Case No. 4:17-cv-03962-HSG (LB)
                                                                      45
                   Case 4:17-cv-03962-HSG Document 284 Filed 08/18/21 Page 47 of 52




 1      properly licensed to operate such a vehicle. All shuttles provided at least 10 standard seats, most

 2      providing either 10 or 12 such seats.

 3                                                         CONCLUSION

 4                  79. All of the Brookdale facilities that I inspected were generally inaccessible to residents

 5      with mobility and/or vision disabilities as a result of pervasive access barriers. These barriers deny

 6      residents with mobility and/or vision disabilities full and equal access to Brookdale’s assisted living

 7      facilities, and are highly likely to cause such residents difficulty, discomfort, or embarrassment, if not

 8      physical injury. Based on the results of my access surveys of Brookdale’s California facilities and

 9      my review of other evidence in this case, including relevant documents and deposition testimony I

10      have identified, and based on my years of experience as a disability access expert and specialist, it is

11      my opinion that Brookdale has a policy and practice of disregarding its obligations under the ADA

12      and the Unruh Act by failing to take the necessary steps to identify and remediate barriers to access

13      in its California facilities that violate those provisions of law and their accompanying federal and

14      state regulations and access standards.

15                     I declare under the penalty of perjury under the laws of the United States that the foregoing

16      is true and correct. Executed on August 17, 2021 in Setubal, Portugal.

17

18

19

20        Jeffrey Scott Mastin

21

22

23

24

25

26

27

28
     [3779845.4]      DECLARATION OF JEFFREY SCOTT MASTIN ISO PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                      Stiner et al., v. Brookdale Senior Living, Inc., LLC, et al., Case No. 4:17-cv-03962-HSG (LB)
                                                                      46
Case 4:17-cv-03962-HSG Document 284 Filed 08/18/21 Page 48 of 52




                   Appendix A
         Case 4:17-cv-03962-HSG Document 284 Filed 08/18/21 Page 49 of 52

   Curriculum Vitae for Jeff Mastin -November 11, 2020 - Page 1 of 4                       EXHIBIT A
Jeff Mastin
Accessibility Expert
Facility Access Consulting, Inc., Carlsbad, California
jmastin@fac-ca.com • 949-439-5095
_______________________________________________________________________________________________
Experienced and highly knowledgeable expert on federal and various state accessibility regulation
and interpretation. Highly regarded as an expert for both Plaintiff and Defendant, dedicated to
unbiased interpretation of accessibility standards.
Credentials/Education
   •    Architect, California License C-25681
   •    California Certified Access Specialist (CASp) #088
   •    Bachelor of Science, Architecture - California Polytechnic State University, San Luis Obispo
   •    Division of the State Architect (DSA) Subject Matter Expert (SME) for the California State
        Certified Accessibility Specialist (CASp) exam 2015 thru 2020.
Employment History
   •    Current Principal/President, Facility Access Consulting, Inc., 2004-present
   •    Partner, Architerra Architects, 2006-2009
   •    Project Architect, Carter & Burgess 1998-2006
   •    Project Architect/Project Manager, Pitman Group Architects, 1994-1998
   •    Construction Manager, Pacific Newspaper Services, 1991-1994
   •    Architect Intern, Andrews Rothenburger Architects 1987-1991
General Experience
   •    Twenty-three (23) years in architectural design
   •    Twenty-four (24) years leading teams
   •    Twenty (20) years specializing in disabled accessibility
   •    Three (3) years in construction management
   •    Current Principal/President, Facility Access Consulting, Inc.
Accessibility Expert Witness Services
Qualified in federal and California courts to provide expert opinion in areas including architecture,
construction, disability access, program access, the preparation and implementation of an ADA
transition plan, policies procedures and practices regarding disability access barriers, and barrier
removal.

Served as expert witness for either plaintiff or defense counsel, in hundreds of cases.
Subject facilities include a wide variety of privately and publicly funded public accommodations
such as:
    •   Assembly, including stadiums;
    •   Civic facilities, including courthouses, health services, libraries, parks and recreation, etc.;
    •   Public pedestrian rights of way
    •   Education, including K-12, Community College, and University,
    •   Entertainment, including theaters and movie studios;
    •   Hospitality;
    •   Housing, public and private;
    •   Medical, including hospitals and health care facilities;
    •   Retail;
    •   Transportation facilities, including rolling stock.


                                                                                                           1
        Case 4:17-cv-03962-HSG Document 284 Filed 08/18/21 Page 50 of 52

  Curriculum Vitae for Jeff Mastin -November 11, 2020 - Page 2 of 4                             EXHIBIT A
Selection of Accessibility Experience
Indian Wells Tennis Garden                                                                       2015-2017
   Provided access compliance assessment and recommendations for remediation for the 54 acre tennis
   campus including two stadiums, and extensive temporary facilities provided for the annual BNP Paribas
   Open, with a two week attendance of over 400,000.

Panda Express                                                                                 2014-present
   Provided access compliance assessment and recommendations for remediation for 100 food service
   facilities in California. Served as expert witness in litigation matters.

University of California Irvine Medical Center                                               2008 -present
   Provided/providing access compliance assessment and recommendations for remediation for the
   medical campus and off-campus facilities. Provided/providing plan review and plan check,
   accessibility consulting, and employee training. Plan review services include the 500,000 sf Douglas
   Hospital. Campus assessment includes 25 buildings comprising 1.4 million sf., the 39 acre site, and
   parking facilities. Training includes various staff seminars and regular meetings to advise staff.

Westfield, LLP                                                                                2010-present
   Provided access compliance assessments for multiple retail mall facilities in California, Oregon, New
   Jersey, New York and Washington, which included recommendations and detailed design. Provided
   services in support of settlement negotiations for several properties that were the subjects of
   litigation. Provided plan review.

University of California San Diego                                                           2015-present
   Served on design team as accessibility consultant for Blake and Warren student hall renovations.

Due Diligence Services                                                                       2015-present
   Routinely serve on Due Diligence teams as an accessibility expert, evaluating potential property
   acquisitions. Clients include the University of California San Diego and private developers.

Accessibility Expert for Court Appointed Monitor                                                 2010-2015
   Provided accessibility services in support of the Monitor in Pierce v County of Orange. Assisted in
   ensuring compliance with the Court-ordered plan of remediation at five Orange County Jail facilities.
   Worked with all parties to develop innovative solutions that satisfied security/safety concerns, yet were
   aligned with intent of the Order.

Division of the State Architect (DSA), Accessibility Consultant                                  2010-2011
   Served as field accessibility consultant and architect for fast track modernization barrier removal at
   12 K-12 facilities. Identified barriers, designed remediation and closed out contractor work.

Macy’s Nationwide, Accessibility Survey                                                          2008-2009
   Developed state-specific criteria for use in facility evaluations. Trained and supported dozens of
   surveyors performing access compliance inspections for over 700 facilities nationwide. Assisted in
   developing tablet-based survey tools. Directed and was responsible for quality assurance and
   recommending remediation for each of over 700 assessments.

San Francisco Unified School District                                                            2007-2009
   Provided various accessibility surveys, assessments, plan reviews, scope analysis and code
   interpretation regarding existing and proposed SFUSD facilities for Plaintiff’s counsel under a class
   action stipulated judgment.

Division of the State Architect (DSA), Contract Plan Reviewer                                    2005-2009
   Provided access compliance plan reviews on a regular basis for public school projects as a contract
   consultant to DSA. Included working with applicants through back-check and approval.




                                                                                                               2
        Case 4:17-cv-03962-HSG Document 284 Filed 08/18/21 Page 51 of 52

  Curriculum Vitae for Jeff Mastin -November 11, 2020 - Page 3 of 4                            EXHIBIT A
Hotel Portofino, Redondo Beach, CA, Accessibility Expert                                 2008 to present
   Initially served as accessibility expert during litigation. Later provided access compliance
   assessment and recommendations for remediation for the facility, including on-site marina and
   conference centers. Provided expert witness services in accessibility, architecture and construction.

Santa Rosa Junior College, ADA Title II Assessment                                             2007-2008
   Principal/Project Manager for survey of Santa Rosa, California campus. Provided recommendations
   and costs for remediation. Conducted seminar and training for administrators and staff in how to
   better meet their obligations. Developed an SQL database system for managing the detailed
   information.

Los Angeles Unified School District, Accessibility Consultant                                  2007-2008
   Provided accessibility consulting for the District during performance of a Modified Consent Decree,
   including interpreting standards on behalf of LAUSD at meetings with the Court-appointed Monitor.

City College of San Francisco, Accessibility Path of Travel Assessment                         2006-2008
   Surveyed and provided recommendations for campus-wide circulation system strategy to be
   implemented under a consent decree. Developed and presented options that ensured adequate
   accessibility while minimizing waste (service provided as consultant to Architerra, LLP, Court
   appointed expert, agreed to by both parties).

YUM! Brands Nationwide, Accessibility Survey and Assessment                                   2005-2006
   Provided access compliance assessments and recommendations for remediation for 107 food
   service facilities nationwide.

Staples Statewide, Accessibility Survey and Assessment                                              2006
   Provided access compliance assessments and recommendations for remediation for 55 retail stores
   and associated facilities in California.

Orange County Justice Centers, Project Manager/Designer                                      2003-2005
   Project Manager/Designer for the renovation of three Orange County, CA courthouses to remove
   ADA barriers to public access. Balanced user requirements for function and County concerns for
   cost and schedule. Developed innovative solutions to remove barriers in fifty courtrooms while
   preserving the unique character of each facility and successfully working within the unique and
   sensitive political landscape inherent to the justice center environment.

The Depot at Santa Ana, Assessment and Recommendation Study                                        2005
   Prepared assessment and recommendation study for the 40,000 sf multi-use transportation station.
   Researched and identified the deficiencies of the facility in implementing Client program. Provided
   recommendations and concept plan. Provided comprehensive accessibility assessment with
   remediation recommendations and costs.

State of California Developmental Centers, ADA Surveys                                      2001-2004
   Project Architect and on-site manager for accessibility assessment for 3 facilities (Sonoma, Fairview
   and Lanterman). Scope of work at each campus consisted of approximately 80 buildings comprising
   1,000,000 s.f. and 500 acres. Trained and field-managed survey teams. Included recommendations
   for barrier removal and assistance with formal transition plan.

County of Alameda, CA, ADA Title II Compliance Survey Project Architect                            2003
   Project Architect providing services to survey and recommend remediation with associated costs for
   37 County facilities totaling two million square feet. Trained and field-managed survey teams and
   worked closely with the County of Alameda to assure quality control and non-disruption of services.

County of Orange, CA, ADA Title II Compliance Survey Project Architect                      1999-2000
   Project Architect for the survey of 144 County facilities totaling 11,000,000 sf. and 38 harbors,
   beaches and parks totaling 79,000 acres. Trained and field-managed survey teams and worked
   closely with the County of Orange to assure quality control. Included recommendations for barrier
   removal and assistance with formal transition plan.
                                                                                                           3
        Case 4:17-cv-03962-HSG Document 284 Filed 08/18/21 Page 52 of 52

  Curriculum Vitae for Jeff Mastin -November 11, 2020 - Page 4 of 4                             EXHIBIT A

Selection of Architectural Projects


Porterville Developmental Center 96-Bed Forensic Expansion                                       2004-2005
   Project Architect for the 80 million dollar project that included 6 skilled nursing forensic residence
   buildings with surrounding secure perimeter and new Protective Services building. The project also
   included 173 acre site infrastructure for 14 future buildings. The extensive site improvements included
   roads, utilities and full emergency back-up power as well as systems for well water production and
   distribution, and physical and electronic security.

State of California Lanterman Developmental Center, Project Architect                             1999-2000
   Project Architect for security and ADA compliance improvements to the existing campus. Balanced
   security and accessibility requirements for design of the campus Police Services Facility, two school
   buildings, and the retrofit of five existing residence buildings.

Riverside Community Hospital                                                                      2002-2003
   Assistant Project Architect for new parking structure, 8,000 s.f. G.I. expansion, 14,000 s.f. remodel and
   21,000 s.f. E.R. renovation. Designed improvements to allow all hospital functions to remain operational
   during construction.

New Corporate Facility, Mag Instrument                                                            1999-2003
   Project Architect for the 50 million dollar 700,000 s.f. facility. The project included corporate offices,
   machine room, cafeteria, aluminum anodizing plant, assembly, warehouse, and shipping areas. The
   300,000sf machine room featured an innovative sub-floor oil collection flume working in conjunction with
   an oil-removing air handling system.

Camarillo Ranch Business Park Master Plan                                                                  1997
   Project Architect for the 45 acre speculative development that included subdivision, road and utility
   infrastructure and preservation of the historic Camarillo Ranch Home.

Sisters of Notre Dame Academy, Los Angeles                                                                 1996
   Project Architect for renovation to the circa 1920 historic elementary school.

Medical Materials Corporation                                                                     1995-1996
   Project Architect for the 35,000 s.f. high-tech manufacturing facility improvement and expansion.
   Worked closely with Client to design manufacturing processes and material handling to minimize and
   control hazardous occupancy requirements. Project included emergency systems for explosion relief
   and temperature control of heat-reactive materials.

Los Angeles Times Orange County Facility Press Bay Expansion                                      1991-1994
   Project Engineer directly responsible for construction of the ten million dollar process systems
   installation, air handling and central plant expansion to accommodate the press bay expansion. Applied
   innovative construction staging, and engineered interim processes that utilized existing infrastructure that
   saved hundreds of thousands of dollars. Interacted with trade unions in utilizing skills of construction
   personnel. This position was primarily a construction management position with extensive design-build
   services.




                                                                                                               4
